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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :      Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :      Case No. 18-[_____] (___)
                                                             :
                                                             :      (Joint Administration Pending)
                                      1
                           Debtors.
                                                             :
------------------------------------------------------------ X


                    JOINT PREPACKAGED CHAPTER 11 PLAN OF
               CHECKOUT HOLDING CORP. AND ITS AFFILIATED DEBTORS



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        Debtors in Possession




Dated: December 11, 2018
Wilmington, Delaware




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); CellFire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation; PDM Holdings
Corporation; PDM Intermediate Holdings A Corporation; and PDM Intermediate Holdings B Corporation. The
Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL 33716.




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               Each of Checkout Holding Corp., Catalina Marketing Corporation, Catalina
Marketing Procurement, LLC, Catalina Marketing Technology Solutions, Inc., Catalina
Marketing Worldwide, LLC, CellFire Inc., Modiv Media, Inc., PDM Group Holdings
Corporation, PDM Holdings Corporation, PDM Intermediate Holdings A Corporation, and PDM
Intermediate Holdings B Corporation (each, a “Debtor” and collectively, the “Debtors”)
proposes the following joint prepackaged chapter 11 plan of reorganization pursuant to section
1121(a) of the Bankruptcy Code. Capitalized terms used herein shall have the meanings set forth
in Section 1.1 below.



ARTICLE I.                     DEFINITIONS AND INTERPRETATION.

                    1.1        Definitions.

                    The following terms shall have the respective meanings specified below:

               A&R Agent means the Person selected by the Ad Hoc First Lien Group to serve
as administrative agent under the Amended and Restated First Lien Credit Agreement, its
successors, assigns, or any replacement agent appointed pursuant to the terms of the Amended
and Restated First Lien Credit Agreement.

              A&R Exit Facility means the exit financing facility under that certain Amended
and Restated First Lien Credit Facility, consisting of the A&R First-Out Tranche and the A&R
Last-Out Tranche, which shall have an aggregate principal amount of $40 million.

                A&R Exit Facility Backstop Payment means the payment made to the Backstop
Parties (as defined in the Amended & Restated First Lien Credit Agreement) to the A&R Exit
Facility.

             A&R Exit Facility Commitment Payment means the payment made to the
Commitment Parties (as defined in the Amended & Restated First Lien Credit Agreement) to the
A&R Exit Facility.

               A&R First-Out Tranche means the first lien first-out tranche of loans under that
certain Amended and Restated First Lien Credit Facility, which shall have an aggregate principal
amount equal to the sum of (a) the amount of the DIP Facility New Money Loan Claims and (b)
the amount of the A&R Exit Facility.

              A&R Last-Out Tranche means the first lien last-out tranche of loans under that
certain Amended and Restated First Lien Credit Facility, which shall have an aggregate principal
amount equal to the DIP Facility Roll-Up Claims.

               A&R First Lien Lenders means the lenders party to the Amended and Restated
First Lien Credit Agreement.

                Acquisition Agreement means that certain acquisition agreement, to be entered
into on or prior to the Effective Date, among CMC (as defined below), CHC (as defined below),




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and the Acquisition Company (as defined below) in the event the Acquisition Transactions (as
defined below) are to occur, to acquire by merger or transfer the stock or substantially all of the
assets of CMC, in accordance with the terms therein and this Plan.

               Acquisition Company means a newly-formed corporate subsidiary, indirectly
wholly-owned by PacificCo. that, in the event the Acquisition Transactions occur, shall acquire
by merger or transfer the stock or substantially all of the assets of CMC in accordance with the
Acquisition Transactions.

                Acquisition Transactions means the CMC Acquisition and any other transactions
that will be undertaken in connection with the CMC Acquisition pursuant to section 1123 of the
Bankruptcy Code, which shall be described in the Plan Supplement.

               Acquisition Transactions Exhibit means a description of some or all of the
Restructuring Transactions, including any Acquisition Transactions, which will be included in
the Plan Supplement.

              Ad Hoc First Lien Group means the group of First Lien Lenders represented by
Jones Day and Evercore Group, L.L.C. (“Evercore”).

              Adequate Protection Claims means any Allowed superpriority administrative
expense claims of the First Lien Lenders pursuant to section 507(b) of the Bankruptcy Code and
the DIP Orders.

                 Administrative Expense Claim means any Claim for costs and expenses of
administration of the Chapter 11 Cases pursuant to sections 327, 328, 330, 365, 503(b),
507(a)(2), or 507(b) of the Bankruptcy Code (other than DIP Facility Claims but including
Adequate Protection Claims), including, (a) the actual and necessary costs and expenses incurred
after the Petition Date and through the Effective Date of preserving the Estates and operating the
businesses of the Debtors; (b) Fee Claims; (c) Restructuring Expenses; and (d) all fees and
charges assessed against the Estates pursuant to sections 1911 through 1930 of chapter 123 of
title 28 of the United States Code.

                  Allowed means, with respect to any Claim or Interest (i) as to which the Debtors
and the holder of the Claim agree to the amount of the Claim or a court of competent jurisdiction
has determined the amount of the Claim by Final Order; (ii) any Claim or Interest that is
compromised, settled, or otherwise resolved pursuant to the authority of the Debtors or
Reorganized Debtors, as applicable, in a Final Order of the Bankruptcy Court; (iii) any Claim
that is listed in the Schedules, if any are filed, as liquidated, non-contingent and undisputed; or
(iv) any Claim or Interest expressly allowed hereunder; provided that the Reorganized Debtors
shall retain all claims and defenses with respect to Allowed Claims that are reinstated or
otherwise Unimpaired pursuant to this Plan.

               Amended and Restated First Lien Credit Agreement means that certain
Amended and Restated First Lien Credit Agreement, to be dated as of the Effective Date, by and
among the Reorganized Debtors, the A&R Agent, and the A&R First Lien Lenders, substantially
in the form thereof contained in the Plan Supplement.



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              Amended and Restated First Lien Credit Facility means that certain Amended
and Restated First Lien Credit Facility comprised of (a) the A&R First-Out Tranche and (b) the
A&R Last-Out Tranche, each as set forth in the Amended and Restated First Lien Credit
Agreement.

               Amended By-Laws means, with respect to a Reorganized Debtor, such
Reorganized Debtor’s amended or amended and restated by-laws or operating agreement, as
applicable, substantially in the form thereof contained in the Plan Supplement to the extent it
contains material changes to the existing by-laws or operating agreement of such Debtor.

                Amended Certificate of Incorporation means, with respect to each Reorganized
Debtor, such Reorganized Debtor’s amended or amended and restated certificate of incorporation
or certificate of formation, as applicable, substantially in the form thereof contained in the Plan
Supplement.

                 Asset means all of the right, title, and interest of a Debtor or any Estate in and to
property of whatever type or nature (including, without limitation, real, personal, mixed,
intellectual, tangible, and intangible property).

              Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. §§ 101 et
seq., as amended from time to time.

               Bankruptcy Court means the United States Bankruptcy Court for the District of
Delaware having jurisdiction over the Chapter 11 Cases and, to the extent of any reference made
under section 157 of title 28 of the United States Code or the Bankruptcy Court is determined not
to have authority to enter a Final Order on an issue, the unit of such District Court having
jurisdiction over the Chapter 11 Cases under section 151 of title 28 of the United States Code.

               Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under section 2075 of title 28 of the United
States Code, as amended from time to time, applicable to the Chapter 11 Cases, and any local
and chamber rules of the Bankruptcy Court.

                 Berkshire Funds means Berkshire Fund VIII, L.P., a Delaware limited
partnership, Berkshire Fund VIII-A, L.P., a Delaware limited partnership, Berkshire Investors III
LLC, a Delaware limited liability corporation, and Berkshire Investors IV LLC, a Delaware
limited liability corporation.

               Business Day means any day other than a Saturday, a Sunday, or “legal holiday”
(as defined in Bankruptcy Rule 9006(a)).

                    Cash means legal tender of the United States of America.

                    Catalina Parent means PDM Group Holdings Corporation, a Delaware
corporation.




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                Catalina Parent Group means the consolidated group as defined in Section 1504
of the Internal Revenue Code of 1986, as amended, of which Catalina Parent is the common
parent.

                 Cause of Action means any action, claim, cross-claim, third-party claim, cause of
action, controversy, demand, right, Lien, indemnity, contribution, guaranty, suit, obligation,
liability, debt, damage, judgment, account, defense, remedy, offset, power, privilege, license and
franchise of any kind or character whatsoever, known, unknown, contingent or non-contingent,
matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or
undisputed, foreseen or unforeseen, direct or indirect, choate or inchoate, secured or unsecured,
assertable directly or derivatively (including, without limitation, under alter ego theories),
whether arising before, on, or after the Petition Date, in contract or in tort, in law or in equity, or
pursuant to any other theory of law. For the avoidance of doubt, Cause of Action includes:
(a) any right of setoff, counterclaim, or recoupment and any claim for breach of contract or for
breach of duties imposed by law or in equity; (b) the right to object to Claims or Interests;
(c) any claim pursuant to sections 362 or chapter 5 of the Bankruptcy Code; (d) any claim or
defense including fraud, mistake, duress and usury, and any other defenses set forth in section
558 of the Bankruptcy Code; and (e) any claims under any state or foreign law, including,
without limitation, any fraudulent transfer or similar claims.

               Chapter 11 Case means (a) with respect to a Debtor, such Debtor’s case under
chapter 11 of the Bankruptcy Code commenced on the Petition Date in the Bankruptcy Court and
(b) when used with reference to all of the Debtors, the procedurally consolidated and jointly
administered chapter 11 cases styled In re Checkout Holding Corp., et al., Ch. 11 Case No. 18-
[●] ([●]).

                    CHC means Checkout Holding Corp., a Delaware corporation.

              Claim means a “claim,” as defined in section 101(5) of the Bankruptcy Code,
against any Debtor.

               Class means any group of Claims or Interests classified under this Plan pursuant
to section 1122(a) of the Bankruptcy Code.

                    CMC means Catalina Marketing Corporation, a Delaware corporation.

                CMC Acquisition means, as determined by the Debtors (with the consent of the
Ad Hoc First Lien Group and the Ad Hoc Second Lien Group) no later than the CMC
Acquisition Election Date, either (i) the merger of Acquisition Company or a subsidiary of
Acquisition Company with CMC (with CMC surviving or, in the event the Debtors so determine
no later than five (5) days prior to the Effective Date, with Acquisition Company surviving) in
accordance with the Acquisition Agreement or (ii) the transfer of all the stock of CMC to the
Acquisition Company in accordance with the Acquisition Agreement.

              CMC Acquisition Election Date means the date that is seven (7) days prior to the
Voting Deadline.




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               Collateral means any Asset of a Debtor or an Estate that is subject to a Lien
securing the payment or performance of a Claim, which Lien is not invalid and has not been
avoided under the Bankruptcy Code or applicable nonbankruptcy law.

               Confirmation Date means the date on which the Clerk of the Bankruptcy Court
enters the Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of
Bankruptcy Rule 5003 and 9021.

               Confirmation Hearing means the hearing to be held by the Bankruptcy Court
regarding confirmation of this Plan pursuant to section 1129 of the Bankruptcy Code, as such
hearing may be adjourned or continued from time to time.

                Confirmation Order means the order of the Bankruptcy Court confirming this
Plan pursuant to section 1129 of the Bankruptcy Code and approving the Disclosure Statement
and related solicitation materials.

               Consenting Sponsor means the Berkshire Funds, to the extent they are a party to
the Restructuring Support Agreement on or before the deadline established in the Plan for filing
the Plan Supplement and are at such time and on the Effective Date each in compliance with all
of the representations, agreements, and obligations set forth in the Restructuring Support
Agreement with respect to the Consenting Sponsor as if they had each executed the
Restructuring Support Agreement on the Support Effective Date (as defined in the Restructuring
Support Agreement).

               Cure Amount means the payment of Cash or the distribution of other property (as
the parties may agree or the Bankruptcy Court may order) as necessary to (a) cure a monetary
default by the Debtors in accordance with the terms of an executory contract or unexpired lease
of the Debtors and (b) permit the Debtors to assume such executory contract or unexpired lease
under section 365(a) of the Bankruptcy Code.

                    Debtor has the meaning set forth in the introductory paragraph of this Plan.

                Debtor in Possession means, with respect to a Debtor, that Debtor in its capacity
as a debtor in possession pursuant to sections 1101, 1107(a), and 1108 of the Bankruptcy Code.

             Definitive Documents has the meaning ascribed to such term in the Restructuring
Support Agreement.

              DIP Facility means the senior secured superpriority term loan facility in the
amount of $275 million consisting of the DIP Facility New Money Loans and the DIP Facility
Roll-Up Loans, on the terms and conditions set forth in the DIP Facility Loan Agreement, as
approved by the DIP Facility Order.

              DIP Facility Agent means JPM, solely in its capacity as administrative agent
under the DIP Facility Loan Agreement, its successors, assigns, or any replacement agent
appointed pursuant to the terms of the DIP Facility Loan Agreement.




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               DIP Facility Claim means a Claim held by the DIP Facility Lenders or the DIP
Facility Agent arising under or relating to the DIP Facility Loan Agreement or the DIP Facility
Order, including any and all fees, interests, and accrued but unpaid interest and fees arising under
the DIP Facility Loan Agreement.

                    DIP Facility Lenders means the lenders party to the DIP Facility Loan
Agreement.

                DIP Facility Loan Agreement means that certain Senior Secured Super-Priority
Debtor-in-Possession Credit Agreement to be dated after the Petition Date, by and among CHC,
as borrower, certain affiliates and subsidiaries of CHC, as guarantors, the DIP Facility Agent,
and the DIP Facility Lenders, on terms mutually acceptable to the Debtors and the DIP Facility
Lenders, with any amendments, modifications or supplements thereto as permitted by the DIP
Facility Order.

             DIP Facility New Money Loans means the new money loans in the principal
amount of $125 million provided by the DIP Facility Lenders under the DIP Facility Loan
Agreement.

               DIP Facility New Money Loan Claim means a Claim held by the DIP Facility
Lenders or the DIP Facility Agent arising from or related to the DIP Facility New Money Loans.

               DIP Facility Order means (i) the Interim Order Pursuant to 11 U.S.C. §§ 105,
361, 362, 363, 364, and 507 and Bankruptcy Rules 2002, 4001 and 9014 (I) Authorizing the
Debtors to Obtain Senior Secured, Superpriority, Post-Petition Financing (II) Authorizing the
Use of Cash Collateral, (III) Granting Priming Liens, Priority Liens and Superpriority Claims
and (IV) Granting Adequate Protection to Prepetition Secured Parties, and (ii) a Final Order
entered by the Bankruptcy Court authorizing the Debtors to enter into the DIP Facility Loan
Agreement and access the DIP Facility.

               DIP Facility Roll-Up Loan Claim means a Claim held by the DIP Facility
Lenders or the DIP Facility Agent arising from or related to the DIP Facility Roll-Up Loans.

              DIP Facility Roll-Up Loans means the roll-up loans in the principal amount of
$150 million provided by the DIP Facility Lenders under the DIP Facility Loan Agreement.

               Disbursing Agent means any entity in its capacity as a disbursing agent under
Section 6.5 hereof, including any Debtor or Reorganized Debtor, as applicable, that acts in such
a capacity.

               Disclosure Statement means the disclosure statement for this Plan, as
supplemented from time to time, which is prepared and distributed in accordance with sections
1125, 1126(b), or 1145 of the Bankruptcy Code, Bankruptcy Rules 3016 and 3018, or other
applicable law, including all exhibits and schedules thereto.

               Disputed means, with respect to a Claim, (a) any Claim, which Claim is disputed
under Section 7 of this Plan or as to which the Debtors have interposed and not withdrawn an
objection or request for estimation that has not been determined by a Final Order; (b) any Claim,


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proof of which was required to be filed by order of the Bankruptcy Court but as to which a proof
of claim was not timely or properly filed; (c) any Claim that is listed in the Schedules, if they are
filed, as unliquidated, contingent or disputed, and as to which no request for payment or proof of
claim has been filed; or (d) any Claim that is otherwise disputed by any of the Debtors or
Reorganized Debtors in accordance with applicable law or contract, which dispute has not been
withdrawn, resolved or overruled by a Final Order. To the extent the Debtors dispute only the
amount of a Claim, such Claim shall be deemed Allowed in the amount the Debtors do not
dispute, if any, and Disputed as to the balance of such Claim.

               Distribution Record Date means, except as otherwise provided in this Plan, the
Effective Date.

              DTC means the Depository Trust Company, a limited-purpose trust company
organized under the New York State Banking Law.

                Effective Date means the date which is the first Business Day selected by the
Debtors, with the consent of the Required Restructuring Support Parties, which consent may not
be unreasonably withheld, after which (a) all conditions to the effectiveness of this Plan set forth
in Sections 9.1 and 9.2 hereof have been satisfied or waived in accordance with the terms of this
Plan (other than those conditions that can only be satisfied immediately prior to or concurrent
with the effectiveness of this Plan) and (b) no stay of the Confirmation Order is in effect.

              Estate or Estates means individually or collectively, the estate or estates of the
Debtors created under section 541 of the Bankruptcy Code upon the commencement of the
applicable Debtor’s Chapter 11 Case.

                    Exchange Act means the Securities Exchange Act of 1934, as amended.

                Exculpated Parties means collectively, and in each case in their capacities as
such during the Chapter 11 Cases: (i) the Debtors, (ii) the Reorganized Debtors, and (iii) with
respect to each of the foregoing entities, such entities’ subsidiaries, affiliates, current and former
officers and directors, principals, shareholders, members, partners, managers, employees, agents,
advisory board members, financial advisors, attorneys, accountants, investment bankers,
consultants, representatives, and all other retained estate professionals.

               Existing Equity Interests means all common stock of Catalina Parent issued and
outstanding as of the Effective Date, whether or not transferable or fully vested.

                Fee Claim means a Claim for professional services rendered or costs incurred on
or after the Petition Date through the Effective Date by Professional Persons.

                Fee Escrow Account means a segregated interest-bearing account in an amount
equal to the total estimated amount of Fee Claims and funded by the Debtors on the Effective
Date, subject to the consent of the Required DIP Facility Lenders.

                Final Order means an order, ruling or judgment of the Bankruptcy Court (or any
other court of competent jurisdiction) entered by the Clerk of the Bankruptcy Court on the
docket in the Chapter 11 Cases (or by the clerk of such other court of competent jurisdiction on


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the docket of such court), which has not been reversed, stayed, modified, amended or vacated,
and as to which (a) the time to appeal, petition for certiorari or move for a new trial, stay,
reargument or rehearing has expired and as to which no appeal, petition for certiorari or motion
for new trial, stay, reargument or rehearing shall be pending or (b) if an appeal, writ of certiorari,
new trial, stay, reargument or rehearing thereof has been sought, such order or judgment of the
Court (or other court of competent jurisdiction) shall have been affirmed by the highest court to
which such order was appealed, or certiorari shall have been denied, or a new trial, stay,
reargument or rehearing shall have been denied or resulted in no modification of such order, and
the time to take any further appeal, petition for certiorari or move for a new trial, stay,
reargument or rehearing shall have expired, as a result of which such order shall have become
final in accordance with Rule 8002 of the Bankruptcy Rules; provided, however, that the
possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure, or any analogous
rule under the Bankruptcy Rules, may be Filed relating to such order, shall not cause an order not
to be a Final Order.

                First Lien Agent means JPM, solely in its capacity as administrative agent under
the First Lien Credit Agreement.

                    First Lien Debt Claim means any Claims arising under the First Lien Credit
Agreement.

               First Lien Credit Agreement means that certain amended and restated Credit
Agreement, dated as of April 9, 2014 (as amended), by and among PDM Holdings Corporation,
as holdings, CHC, as borrower, the guarantors party thereto, the First Lien Agent, the First Lien
Lenders party thereto, including all guaranties, security agreements, instruments, and any other
documents delivered pursuant thereto or in connection therewith (in each case, as amended from
time to time).

             First Lien Credit Facility means the credit facility set forth in the First Lien
Credit Agreement.

               First Lien Lenders means the lenders party to the First Lien Credit Agreement,
which, for the avoidance of doubt, includes both Revolving Credit Lenders and Term Lenders (as
such terms are defined in the First Lien Credit Agreement).

                General Unsecured Claim means any Claim, other than an Administrative
Expense Claim, DIP Facility Claim, First Lien Debt Claim, General Unsecured PDM Claim,
Intercompany Claim, NCS Rejection Claim, Other Secured Claim, Priority Non-Tax Claim,
Priority Tax Claim, Second Lien Debt Claim, or Subordinated Claim that is not entitled to
priority under the Bankruptcy Code or any Final Order of the Bankruptcy Court.

              General Unsecured PDM Claim means any Unsecured Claim against PDM
Intermediate Holdings B Corporation, including any Unsecured Claim arising under the
Unsecured PDM Notes or the Unsecured PDM Note Purchase Agreement.

               Impaired means, with respect to a Claim, Interest, or a Class of Claims or
Interests, “impaired” within the meaning of such term in section 1124 of the Bankruptcy Code.



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                    Intercompany Claim means any Claim against a Debtor held by another Debtor.

              Intercompany Interest means an Interest in a Debtor other than Catalina Parent
held by another Debtor or an affiliate of a Debtor.

              Intercreditor Agreement means that certain Second Lien Intercreditor
Agreement, dated as of April 9, 2014, by and among PDM Holdings Corporation, as holdings,
CHC, as borrower, the guarantors party thereto, the First Lien Agent, and the Second Lien Agent
(as amended from time to time).

               Interest means any equity security (as defined in section 101(16) of the
Bankruptcy Code) of a Debtor, including all common stock, preferred stock, membership or
partnership interests, or other instrument evidencing any fixed or contingent ownership interest
in any Debtor, including any option, warrant, or other right or instrument, contractual or
otherwise, to acquire any such interest in a Debtor, whether or not transferable and whether fully
vested or vesting in the future, that existed immediately before the Effective Date.

              JPM means JPMorgan Chase Bank, N.A. in all of its capacities under the First
Lien Credit Facility and the DIP Facility (as applicable, each of the documents related thereto,
and the L/C Cash Collateral Agreement).

              JPM Letter of Credit means that certain letter of credit, dated as of October 20,
2017, by and among JPM, as issuer, Epson America, Inc., as beneficiary, and CMC, as applicant.

                JPM Letter of Credit Secured Claim means any Claim arising out of or relating
to (i) the JPM Letter of Credit and (ii) the L/C Cash Collateral Agreement, in the principal
amount of $5,000,000 (plus all fees, expenses and other obligations owing pursuant to the terms
of the First Lien Credit Agreement and the L/C Cash Collateral Agreement), for which the
reimbursement obligations are secured by a Lien on Collateral.

                L/C Cash Collateral Agreement means that certain Cash Collateral Agreement,
dated as of July 5, 2018, between JPM and CHC in respect of the Collateral securing the Cash
Collateral securing the JPM Letter of Credit Secured Claim, as amended, restated, amended and
restated, supplemented or otherwise modified from time to time

                    Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

               Management Incentive Plan means the post-restructuring management incentive
plan to be adopted by the New Board as further described in Section 5.6 of this Plan.

               New Board means the initial board of directors of Reorganized Catalina Topco,
which shall be appointed by the Ad Hoc First Lien Group.

               New Common Stock means either the shares of common stock of Reorganized
CMC issued pursuant to the Plan or, in the event the CMC Acquisition occurs, the common stock
of PacificCo received pursuant to the Acquisition Agreement.




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                New Stockholders’ Agreement means that certain shareholders’ agreement,
substantially in the form thereof contained in the Plan Supplement, which form shall be
reasonably acceptable to the Required Restructuring Support Parties and the Debtors, effective as
of the Effective Date, to which all parties receiving New Common Stock (and all persons to
whom such parties may sell or transfer their New Common Stock in the future and all persons
who purchase or acquire the New Common Stock in future transactions) shall be required to
become parties.

                 NCS Rejection Claims means any and all Claims arising out of or in any way
relating to that certain NC Ventures, LLC Limited Liability Company Agreement dated as of
June 29, 2009 (as amended, modified, or supplemented from time to time), by and among The
Nielsen Company (US), LLC (“Nielsen”) and CMC, including any contract, license agreement,
or any other agreement or arrangement of any kind whatsoever, between the Debtors and any of
NC Ventures, LLC, Nielsen, or an affiliate of Nielsen (the “NCS Agreement”).

                 Other Secured Claim means any Secured Claim (including the JPM Letter of
Credit Secured Claims) against a Debtor other than a First Lien Debt Claim or a DIP Facility
Claim. For the avoidance of doubt, Other Secured Claim does not include any Claim arising out
of or relating to the Second Lien Credit Agreement.

                PacificCo means a newly-formed corporation (or limited liability company that
elects to be taxable as a corporation) that indirectly owns all of the outstanding stock of the
Acquisition Company.

               Person means an individual, corporation, partnership, joint venture, association,
joint stock company, limited liability company, limited liability partnership, trust, estate,
unincorporated organization, governmental unit (as defined in section 101(27) of the Bankruptcy
Code), or other entity (as defined in section 101(15) of the Bankruptcy Code).

             Petition Date means, with respect to a Debtor, the date on which such Debtor
commenced its Chapter 11 Case.

               Plan means this joint prepackaged chapter 11 plan, including all appendices,
exhibits, schedules, and supplements hereto (including, without limitation, any appendices,
schedules, and supplements to this Plan contained in the Plan Supplement), as may be modified
from time to time in accordance with the Bankruptcy Code, the terms hereof, and the terms of
the Restructuring Support Agreement.

              Plan Distribution means the payment or distribution of consideration to holders
of Allowed Claims and Interests under this Plan.

               Plan Document means any of the documents, other than this Plan, to be executed,
delivered, assumed, or performed in connection with the occurrence of the Effective Date,
including, without limitation, the documents to be included in the Plan Supplement, the
Amended and Restated First Lien Credit Agreement, the Amended Certificates of Incorporation
of the applicable Reorganized Debtors, and the Amended By-Laws of the applicable
Reorganized Debtors, subject to the consent rights set forth in the Restructuring Support
Agreement and as may be modified consistent with the Restructuring Support Agreement.

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                Plan Supplement means a supplemental appendix to this Plan containing, among
other things, substantially final forms (in each case, subject to the consent rights set forth in the
Restructuring Support Agreement and as may be modified consistent with the Restructuring
Support Agreement) of the Amended and Restated First Lien Credit Agreement (exclusive of all
ancillary documents), the applicable Amended Certificates of Incorporation of the applicable
Reorganized Debtors, the applicable Amended By-Laws of the applicable Reorganized Debtors,
and the slate of directors to be appointed to the New Board to the extent known and determined,
a schedule of retained Causes of Action, the Acquisition Agreement, Acquisition Transactions
Exhibit, and, with respect to the members of the New Board, information required to be
disclosed in accordance with section 1129(a)(5) of the Bankruptcy Code; provided, that, through
the Effective Date, the Debtors, with the consent of the Restructuring Support Parties, shall have
the right to amend documents contained in, and exhibits to, the Plan Supplement in accordance
with the terms of this Plan and the Restructuring Support Agreement. The Plan Supplement shall
be filed with the Bankruptcy Court not later than seven (7) calendar days before the Voting
Deadline, or such later date as may be approved by the Bankruptcy Court.

                Priority Non-Tax Claim means any Claim (other than a DIP Facility Claim, an
Administrative Expense Claim, or a Priority Tax Claim) that is entitled to priority in payment as
specified in section 507(a) of the Bankruptcy Code.

               Priority Tax Claim means any Claim of a governmental unit (as defined in
section 101(27) of the Bankruptcy Code) of the kind entitled to priority in payment under
sections 502(i) and 507(a)(8) of the Bankruptcy Code.

               Professional Person means any Person retained by order of the Bankruptcy Court
in connection with these Chapter 11 Cases pursuant to sections 327, 328, 330, 331, 503(b), or
1103 of the Bankruptcy Code, excluding any ordinary course professional retained pursuant to an
order of the Bankruptcy Court.

                Pro Rata means the proportion that an Allowed Claim or Interest in a particular
Class bears to the aggregate amount of Allowed Claims or Interests in that Class.

                  Released Parties means, collectively, and in each case in their capacities as such:
(i) the Debtors and the Reorganized Debtors; (ii) the Debtors’ non-Debtor affiliates; (iii) the
Berkshire Funds; (iv) the Restructuring Support Parties; (v) JPM; (vi) the Second Lien Agent;
and (vii) the DIP Facility Lenders; and with respect to each of the foregoing entities, such
entities’ affiliates, and with respect to each of the foregoing entities and their affiliates, their
predecessors, successors, assigns, subsidiaries, affiliates, managed accounts and funds, current
and former officers and directors, principals, stockholders, shareholders, members, partners,
managers, employees, subcontractors, agents, advisory board members, financial advisors,
attorneys, accountants, investment bankers, consultants, representatives, management
companies, fund advisors, and other professionals, and such entities’ respective heirs, executors,
estates, servants, and nominees.

             Reorganized Catalina Topco means, if the Acquisition Transactions do not occur,
Reorganized CMC, and if the Acquisition Transactions occur, PacificCo.



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              Reorganized CMC means CMC, as reorganized on the Effective Date in
accordance with this Plan.

               Reorganized Debtors means the Debtors, as reorganized as of the Effective Date
in accordance with this Plan, including any transferee or successor thereto by merger, transfer or
otherwise, on or after the Effective Date, including the Acquisition Company.

               Required DIP Facility Lenders means the Required Lenders under the DIP
Facility Loan Agreement.

               Required Restructuring Support Parties means the Requisite Creditors, as
defined in the Restructuring Support Agreement.

              Restructuring means the financial restructuring of the Debtors, the principal
terms of which are set forth in this Plan and the Plan Supplement.

                 Restructuring Expenses means the reasonable and documented fees and expenses
incurred by (a) the Restructuring Support Parties in connection with the Restructuring, subject to
the Debtors’ obligations to reimburse applicable expenses, as provided in the Restructuring
Support Agreement, the DIP Facility Order, and applicable engagement letters, including,
without limitation, the fees and expenses of Jones Day and Evercore (as counsel and financial
advisor, respectively, to the Ad Hoc First Lien Group) and the fees and expenses of Paul Weiss,
Young Conway, and PJT (as counsel, local counsel, and financial advisor, respectively, to the
Second Lien Ad Hoc Group), (b) the First Lien Agent, the L/C Issuer (as defined in the First
Lien Credit Agreement), the DIP Facility Agent, the A&R Agent, the arranger under the DIP
Facility and the A&R Exit Facility, all as provided under the DIP Facility Order and any related
fee letters or engagement letters to which any Debtor is a party, including, without limitation, the
fees and expenses of Davis Polk & Wardwell LLP, Landis Rath & Cobb LLP and Ankura
Consulting Group, LLC (as counsel, local counsel, and financial advisor, respectively, to the
First Lien Agent and DIP Facility Agent), and (c) the Second Lien Agent, including, without
limitation, the fees and expenses of Wilmer Cutler Pickering Hale and Dorr LLP (as counsel to
the Second Lien Agent), one local counsel, and any other advisers, consultants, appraisers and
professionals retained by or on behalf of the Second Lien Agent in connection with any litigation
or contested matter commenced by or against the Second Lien Agent, in each case payable
without the requirement for the filing of retention applications, fee applications, or any other
applications in the Chapter 11 Cases, which shall be Allowed in full as Administrative Expense
Claims upon incurrence and shall not be subject to any offset, defense, counterclaim, reduction,
or credit. For the avoidance of doubt, the fees and expenses of Evercore and PJT shall include
any success, restructuring or transaction fees payable to Evercore or PJT, as the case may be, in
accordance with their respective engagement letters with CHC.

                Restructuring Support Agreement means (a) that certain Restructuring Support
Agreement, dated as of December 11, 2018, by and among Catalina Parent, certain other
affiliates of Catalina Parent specified therein, and the Restructuring Support Parties, as the same
may be amended, restated, or otherwise modified in accordance with its terms and (b) that
certain Plan Term Sheet (as defined in, and attached as an exhibit to, the Restructuring Support
Agreement).


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               Restructuring Support Parties means the Consenting Sponsor (if applicable), and
the holders of First Lien Debt Claims and Second Lien Debt Claims that are signatories to the
Restructuring Support Agreement.

                Restructuring Transactions means one or more transactions pursuant to section
1123(a)(5)(D) of the Bankruptcy Code to occur on or prior to the Effective Date or as soon as
reasonably practicable thereafter, that may be necessary or appropriate to effect any transaction
described in, approved by, contemplated by, or necessary to effectuate this Plan, including (a) the
consummation of the transactions provided for under, contemplated by, or described in the
Restructuring Support Agreement or the Acquisition Transactions Exhibit; (b) the execution and
delivery of appropriate agreements or other documents (including the Plan Documents)
containing terms that are consistent with or reasonably necessary to implement the terms of this
Plan and the Restructuring Support Agreement and that satisfy the requirements of applicable
law; (c) the execution and delivery of appropriate instruments (including the Plan Documents) of
transfer, assignment, assumption, or delegation of any property, right, liability, duty, or
obligation on terms consistent with the terms of this Plan and the Restructuring Support
Agreements; (d) the transactions described in Section 5.10 of the Plan; (e) the Acquisition
Transactions; and (f) all other actions that the Debtors or Reorganized Debtors, as applicable,
determine are necessary or appropriate and consistent with the Restructuring Support Agreement.

                Schedules means, collectively, the schedules of assets and liabilities, schedules of
executory contracts and unexpired leases and statements of financial affairs filed by the Debtors
with the Bankruptcy Court and in substantial accordance with the Official Bankruptcy Forms, as
the same may have been amended, modified or supplemented from time to time, to the extent
such filing is not waived pursuant to an order of the Bankruptcy Court.

              Second Lien Ad Hoc Group means the group of Second Lien Lenders and First
Lien Lenders that own or manage with the authority to act on behalf of the beneficial owners of
the Second Lien Credit Facility and the First Lien Credit Facility, as applicable, who have
executed the Restructuring Support Agreement, represented by Paul Weiss and PJT.

                Second Lien Advisor Engagement Letters means that (a) certain engagement
letter dated as of September 11, 2018, by and between CHC, Paul, Weiss, Rifkind, Wharton &
Garrison LLP (“Paul Weiss”), and PJT Partners, LP (“PJT”); (b) certain reimbursement
agreement dated as of August 23, 2018, by and between CHC and Paul Weiss; (c) certain fee
letter dated as of November 16, 2018, by and between the Second Lien Agent and CHC; and (d)
certain engagement letter dated as of December 11, 2018, by and between CHC and Young
Conaway Stargatt & Taylor, LLP (“Young Conaway”).

              Second Lien Agent means Wilmington Savings Funds Society, FSB, and any
successor agent, as administrative agent, solely in its capacity as administrative agent under the
Second Lien Credit Agreement.

              Second Lien Credit Agreement means that certain amended and restated Credit
Agreement, dated as of April 9, 2014 (as amended), by and among PDM Holdings Corporation,
as holdings, CHC, as borrower, the guarantors party thereto, the Second Lien Agent, the Second
Lien Lenders party thereto, including all guaranties, security agreements, instruments, and any


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other documents delivered pursuant thereto or in connection therewith (in each case, as amended
from time to time).

             Second Lien Credit Facility means the credit facility set forth in the Second Lien
Credit Agreement.

                    Second Lien Debt Claim means any Claims arising under the Second Lien Credit
Agreement.

                    Second Lien Lenders means the lenders party to the Second Lien Credit
Agreement.

                 Secured Claim means a Claim to the extent (i) secured by a Lien on property of a
Debtor’s Estate, the amount of which is equal to or less than the value of such property (A) as set
forth in this Plan, (B) as agreed to by the holder of such Claim and the Debtors, or (C) as
determined by a Final Order in accordance with section 506(a) of the Bankruptcy Code or
(ii) subject to any setoff right of the holder of such Claim under section 553 of the Bankruptcy
Code.

                    Securities Act means the Securities Act of 1933, 15 U.S.C. §§ 77a–77aa, as
amended.

             Security means any “security” as such term is defined in section 101(49) of the
Bankruptcy Code.

                Subordinated Claim means any Claim that is subject to (i) subordination under
section 510(b) of the Bankruptcy Code or (ii) equitable subordination as determined by the
Bankruptcy Court in a Final Order, including, without limitation, any Claim for or arising from
the rescission of a purchase, sale, issuance, or offer of a Security of any Debtor; for damages
arising from the purchase or sale of such a Security; or for reimbursement, indemnification, or
contribution allowed under section 502 of the Bankruptcy Code on account of such Claim.

                    Tax Code means the Internal Revenue Code of 1986, as amended from time to
time.

                 Unimpaired means, with respect to a Claim, Interest, or Class of Claims or
Interests, not “impaired” within the meaning of such term in section 1124 of the Bankruptcy
Code. Notwithstanding anything to the contrary in this Plan, the Plan Documents, or in the
Confirmation Order, until an Allowed Claim that arises prior to the Effective Date has been
(v) paid in full in accordance with applicable law, (w) paid in full or otherwise satisfied under the
governing documents giving rise to the Claim, (x) paid in full or otherwise satisfied pursuant to
terms agreed to between the holder of such Claim and the Debtor or Reorganized Debtor or in
accordance with the terms and conditions of the particular transaction giving rise to such Claim,
(y) paid in full or otherwise satisfied pursuant to this Plan, Plan Documents, or the Confirmation
Order, or (z) otherwise satisfied or disposed of as determined by a court of competent
jurisdiction. For the avoidance of doubt, (i) the provisions of Sections 10.3, 10.4, 10.6, 10.7(b),
10.8, and 10.9 of this Plan shall not apply or take effect with respect to such Claim, (ii) such
Claim shall not be deemed settled, satisfied, resolved, released, discharged, or enjoined by any


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provision of this Plan or the Plan Documents, and (iii) the property of each of the Debtors’
Estates that vests in the applicable Reorganized Debtor pursuant to Section 10.2 of this Plan shall
not be free and clear of such Claim.

                    Unsecured means, with respect to any Claim, any Claim that is not a Secured
Claim.

                Unsecured PDM Note Purchase Agreement means that certain Note Purchase
Agreement, dated as of April 9, 2014, by and among PDM Intermediate Holdings B Corporation,
as issuer, and the purchasers party thereto, including all agreements, notes, instruments, and any
other documents delivered pursuant thereto or in connection therewith (in each case, as amended,
modified, or supplemented from time to time).

              Unsecured PDM Notes means the PIK Notes due April 9, 2022 issued pursuant to
the Unsecured PDM Note Purchase Agreement in the aggregate principal amount outstanding of
$230,000,000 plus all accrued prepetition interest, fees, and other expenses due as of the Petition
Date under the Unsecured PDM Note Purchase Agreement.

                    U.S. Trustee means the United States Trustee for Region 3.

               Voting Deadline means January 23, 2019 at 5:00 p.m. prevailing Eastern Time, or
such date and time as may be set by the Bankruptcy Court.

                    1.2        Interpretation; Application of Definitions; Rules of Construction.

                Unless otherwise specified, all section or exhibit references in this Plan are to the
respective section in or exhibit to this Plan, as the same may be amended, waived, or modified
from time to time in accordance with the terms hereof and the Restructuring Support Agreement.
The words “herein,” “hereof,” “hereto,” “hereunder,” and other words of similar import refer to
this Plan as a whole and not to any particular section, subsection, or clause contained therein and
have the same meaning as “in this Plan,” “of this Plan,” “to this Plan,” and “under this Plan,”
respectively. The words “includes” and “including” are not limiting and shall mean “including,
without limitation” unless otherwise specified. The headings in this Plan are for convenience of
reference only and shall not limit or otherwise affect the provisions hereof. For purposes herein:
(i) in the appropriate context, each term, whether stated in the singular or plural, shall include
both the singular and plural, and pronouns stated in the masculine, feminine, or neuter gender
shall include the masculine, feminine, and the neuter gender; (ii) any reference herein to a
contract, lease, instrument, release, indenture, or other agreement or document being in a
particular form or on particular terms and conditions means that the reference document shall be
substantially in that form or substantially on those terms and conditions; (iii) the rules of
construction set forth in section 102 of the Bankruptcy Code shall apply; and (iv) any term used
in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code
or the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or
the Bankruptcy Rules, as the case may be.




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                    1.3        Reference to Monetary Figures.

               All references in this Plan to monetary figures shall refer to the legal tender of the
United States of America unless otherwise expressly provided.

                    1.4        Consent Rights of Restructuring Support Parties.

               Notwithstanding anything herein to the contrary, any and all consent rights of the
Restructuring Support Parties set forth in the Restructuring Support Agreement (or otherwise)
with respect to the form and substance of this Plan, the Plan Supplement, the other Plan
Documents, including any amendments, restatements, supplements, or other modifications to
such documents, or with respect to any other document, actions, or anything else referred to
herein, and any consents, waivers, or other deviations under or from any such documents, shall
be incorporated herein by this reference (including to the applicable definitions in Section 1.1
hereof) and fully enforceable as if stated in full herein.

                    1.5        Controlling Document.

                In the event of an inconsistency between this Plan and the Plan Supplement, the
terms of the relevant document in the Plan Supplement shall control unless otherwise specified in
such Plan Supplement document. In the event of an inconsistency between this Plan and any
other instrument or document created or executed pursuant to this Plan, other than documents
contained in the Plan Supplement, or between this Plan and the Disclosure Statement, this Plan
shall control. The provisions of this Plan and of the Confirmation Order shall be construed in a
manner consistent with each other so as to effectuate the purposes of each; provided, that if there
is determined to be any inconsistency between any provision of this Plan and any provision of
the Confirmation Order that cannot be so reconciled, then, solely to the extent of such
inconsistency, the provisions of the Confirmation Order shall govern, and any such provisions of
the Confirmation Order shall be deemed a modification of this Plan.

ARTICLE II.                    ADMINISTRATIVE EXPENSE CLAIMS, FEE CLAIMS, DIP
                               FACILITY CLAIMS, AND PRIORITY TAX CLAIMS.

                    2.1        Treatment of Administrative Expense Claims.

                Except to the extent that a holder of an Allowed Administrative Expense Claim
other than a Fee Claim agrees to a different treatment, on the Effective Date or as soon thereafter
as is reasonably practicable (but in no event later than thirty (30) days after the Effective Date),
the holder of such Allowed Administrative Expense Claim shall receive, on account of such
Allowed Claim, Cash in an amount equal to the Allowed amount of such Claim; provided, that
Allowed Administrative Expense Claims representing liabilities incurred in the ordinary course
of business by the Debtors (which, for the avoidance of doubt, do not include Restructuring
Expenses, which shall be paid in accordance with the DIP Facility Order, as applicable), as
Debtors in Possession, shall be paid by the Debtors or the Reorganized Debtors, as applicable, in
the ordinary course of business, consistent with past practice and in accordance with the terms
and subject to the conditions of any orders or agreements governing, instruments evidencing, or
other documents establishing, such liabilities.



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                    2.2        Treatment of Fee Claims.

                 All Professional Persons seeking awards by the Bankruptcy Court of
compensation for services rendered or reimbursement of expenses incurred through and
including the Effective Date under sections 327, 328, 330, 331, 503(b)(2), 503(b)(3), 503(b)(4),
503(b)(5), or 1103 of the Bankruptcy Code shall (a) file, on or before the date that is forty-five
(45) days after the Effective Date, their respective applications for final allowances of
compensation for services rendered and reimbursement of expenses incurred and (b) be paid in
full, in Cash, in such amounts as are Allowed by the Bankruptcy Court or authorized to be paid
in accordance with the order(s) relating to or allowing any such Fee Claim. On the Effective
Date, the Debtors shall establish and fund the Fee Escrow Account. The Debtors shall fund the
Fee Escrow Account with Cash equal to the Professional Persons’ good faith estimates of the Fee
Claims. Funds held in the Fee Escrow Account shall not be considered property of the Debtors’
Estates or property of the Reorganized Debtors, but shall revert to the Reorganized Debtors only
after all Fee Claims allowed by the Bankruptcy Court have been irrevocably paid in full. The
Fee Escrow Account shall be held in trust for Professional Persons retained by the Debtors and
for no other parties until all Fee Claims Allowed by the Bankruptcy Court have been paid in
full. Fees owing to the applicable Professional Persons shall be paid in Cash to such
Professional Persons from funds held in the Fee Escrow Account when such Claims are Allowed
by an order of the Bankruptcy Court or authorized to be paid under the Order Establishing
Procedures for Interim Compensation and Reimbursement of Expenses of Professionals;
provided, however, that the Reorganized Debtors’ obligations with respect to Fee Claims shall
not be limited by nor deemed limited to the balance of funds held in the Fee Escrow
Account. To the extent that funds held in the Fee Escrow Account are insufficient to satisfy the
amount of accrued Fee Claims owing to the Professional Persons, such Professional Persons
shall have an Allowed Administrative Expense Claim for any such deficiency, which shall be
satisfied in accordance with Section 2.1 of this Plan. No Liens, claims, or interests shall
encumber the Professional Fee Escrow in any way.

                Any objections to Fee Claims shall be served and filed (a) no later than twenty
one (21) days after the filing of the final applications for compensation or reimbursement or
(b) such later date as ordered by the Bankruptcy Court upon a motion of the Reorganized
Debtors.

                    2.3        Treatment of DIP Facility Claims.

                On the Effective Date, in full and final satisfaction, compromise, settlement,
release, and discharge of, and in exchange for, each Allowed DIP Facility Claim, each holder of
an Allowed DIP Facility Claim shall receive (i) on account of its Allowed DIP Facility New
Money Loan Claims, its Pro Rata share of the loans under the A&R First-Out Tranche, and (ii)
on account of its Allowed DIP Facility Roll-Up Loan Claims, its Pro Rata share of the loans
under the A&R Last-Out Tranche. On the Effective Date, all liens and security interests granted
to secure the obligations arising under the DIP Facility Loan Agreement shall continue, remain
in effect, and be deemed to secure the obligations under the Amended and Restated First Lien
Credit Agreement, subject to the terms and conditions thereof.




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                    2.4        Payment of Fees and Expenses under DIP Facility Order.

               On the earlier of (i) the Effective Date and (ii) the date on which any accrued and
unpaid fees, expenses or disbursements in respect of the DIP Facility and the Exit Facility would
be required to be paid under the terms of the applicable DIP Facility Order, the Restructuring
Support Agreement or any other order of the Bankruptcy Court, the Debtors or Reorganized
Debtors (as applicable) shall pay all fees, expenses and disbursements of the DIP Facility Agent
and the DIP Facility Lenders, in each case, that have accrued and are unpaid as of the Effective
Date and are required to be paid under or pursuant to the DIP Facility Order the Restructuring
Support Agreement or any other order of the Bankruptcy Court, including, for the avoidance of
doubt, professional fees required to be paid as adequate protection for the First Lien Lenders and
the A&R Exit Backstop Payment and A&R Exit Commitment Payment.

                    2.5        Treatment of Priority Tax Claims.

                Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a
different treatment, on the Effective Date or as soon thereafter as is reasonably practicable, the
holder of such Allowed Priority Tax Claim shall receive, on account of such Allowed Priority
Tax Claim, Cash in an amount equal to the Allowed amount of such Claim; provided, that
Allowed Priority Tax Claims representing liabilities incurred in the ordinary course of business
by the Debtors, as Debtors in Possession, shall be paid by the Debtors or the Reorganized
Debtors, as applicable, in the ordinary course of business, consistent with past practice and in
accordance with the terms and subject to the conditions of any orders or agreements governing,
instruments evidencing, or other documents establishing, such liabilities.



ARTICLE III.                   CLASSIFICATION OF CLAIMS AND INTERESTS.

                    3.1        Classification in General.

                A Claim or Interest is placed in a particular Class for all purposes, including
voting, confirmation, and distribution under this Plan and under sections 1122 and 1123(a)(1) of
the Bankruptcy Code; provided, that a Claim or Interest is placed in a particular Class for the
purpose of receiving distributions pursuant to this Plan only to the extent that such Claim or
Interest is an Allowed Claim or Allowed Interest in that Class and such Claim or Interest has not
been satisfied, released, or otherwise settled prior to the Effective Date.

                    3.2        Formation of Debtor Groups for Convenience Only.

                This Plan groups the Debtors together solely for the purpose of describing
treatment under this Plan, confirmation of this Plan, and making Plan Distributions in respect of
Claims against and Interests in the Debtors under this Plan. Such groupings shall not affect any
Debtor’s status as a separate legal entity, change the organizational structure of the Debtors’
business enterprise, constitute a change of control of any Debtor for any purpose, cause a merger
of consolidation of any legal entities, or cause the transfer of any Assets; and, except as
otherwise provided by or permitted under this Plan, all Debtors shall continue to exist as separate
legal entities.


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                    3.3        Summary of Classification of Claims and Interests.

                  The following table designates the Classes of Claims against and Interests in the
Debtors and specifies which Classes are: (i) Impaired and Unimpaired under this Plan;
(ii) entitled to vote to accept or reject this Plan in accordance with section 1126 of the
Bankruptcy Code; and (iii) deemed to accept or reject this Plan:

Class            Type of Claim or Interest                  Impairment       Entitled to Vote

Class 1          Priority Non-Tax Claims                    Unimpaired       No (Deemed to accept)

Class 2          Other Secured Claims                       Unimpaired       No (Deemed to accept)

Class 3          First Lien Debt Claims                     Impaired         Yes

Class 4          Second Lien Debt Claims                    Impaired         Yes

Class 5          General Unsecured Claims                   Unimpaired       No (Deemed to accept)

Class 6          NCS Rejection Claims                       Impaired         No (Deemed to reject)

Class 7          General Unsecured PDM Claims               Impaired         No (Deemed to reject)

Class 8          Intercompany Claims                        Unimpaired       No (Deemed to accept)

Class 9          Subordinated Claims                        Impaired         No (Deemed to reject)

Class 10         Existing Equity Interests                  Impaired         No (Deemed to reject)

Class 11         Intercompany Interests                     Unimpaired       No (Deemed to accept)



                    3.4        Separate Classification of Other Secured Claims.

                Although all Other Secured Claims have been placed in one Class for purposes of
nomenclature within this Plan, each Other Secured Claim, to the extent secured by a Lien on
Collateral different from the Collateral securing a different Other Secured Claim, shall be treated
as being in a separate sub-Class for the purposes of voting to accept or reject this Plan and
receiving Plan Distributions.

                    3.5        Elimination of Vacant Classes.

                Any Class that, as of the commencement of the Confirmation Hearing, does not
have at least one holder of a Claim or Interest that is Allowed in an amount greater than zero for
voting purposes shall be considered vacant, deemed eliminated from this Plan for purposes of
voting to accept or reject this Plan, and disregarded for purposes of determining whether this
Plan satisfies section 1129(a)(8) of the Bankruptcy Code with respect to such Class.



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                    3.6        Voting; Presumptions; Solicitation.

                       (a)    Acceptance by Certain Impaired Classes. Only holders of Allowed
Claims in Classes 3 and 4 are entitled to vote to accept or reject this Plan. An Impaired Class of
Claims shall have accepted this Plan if (i) the holders of at least two-thirds (2/3) in amount of the
Allowed Claims actually voting in such Class have voted to accept this Plan and (ii) the holders
of more than one-half (1/2) in number of the Allowed Claims actually voting in such Class have
voted to accept this Plan. Holders of Claims in Classes 3 and 4 will receive ballots containing
detailed voting instructions.

                        (b)      Deemed Acceptance by Unimpaired Classes. Holders of Claims
and Interests in Classes 1, 2, 5, 8, and 11 are conclusively deemed to have accepted this Plan
pursuant to section 1126(f) of the Bankruptcy Code. Accordingly, such holders are not entitled
to vote to accept or reject this Plan.

                        (c)   Deemed Rejection by Certain Impaired Classes. Holders of
Claims and Interests in Classes 6, 7, 9, and 10 are deemed to have rejected this Plan pursuant to
section 1126(g) of the Bankruptcy Code. Accordingly, such holders are not entitled to vote to
accept or reject this Plan.

                    3.7        Cramdown.

                If any Class of Claims is deemed to reject this Plan or is entitled to vote on this
Plan and does not vote to accept this Plan, the Debtors may (i) seek confirmation of this Plan
under section 1129(b) of the Bankruptcy Code or (ii) amend or modify this Plan in accordance
with the terms hereof and the Bankruptcy Code. If a controversy arises as to whether any Claims
or Interests are impaired, the Bankruptcy Court shall, after notice and a hearing, determine such
controversy on or before the Confirmation Date.

                    3.8        No Waiver.

                 Nothing contained in this Plan shall be construed to waive a Debtor’s or other
entity’s right to object on any basis to any Claim.



ARTICLE IV.                    TREATMENT OF CLAIMS AND INTERESTS.

                    4.1        Class 1: Priority Non-Tax Claims.

                      (a)     Treatment: The legal, equitable, and contractual rights of the
holders of Allowed Priority Non-Tax Claims are unaltered by this Plan. Except to the extent that
a holder of an Allowed Priority Non-Tax Claim agrees to different treatment, on the later of the
Effective Date and the date that is ten (10) Business Days after the date such Priority Non-Tax
Claim becomes an Allowed Claim, or as soon thereafter as is reasonably practicable, each holder
of an Allowed Priority Non-Tax Claim shall receive, on account of such Allowed Claim, at the
option of the Reorganized Debtors: (i) Cash in an amount equal to the Allowed amount of such



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Claim or (ii) other treatment consistent with the provisions of section 1129(a)(9) of the
Bankruptcy Code.

                        (b)     Impairment and Voting: Allowed Priority Non-Tax Claims are
Unimpaired. In accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed
Priority Non-Tax Claims are conclusively presumed to accept this Plan and are not entitled to
vote to accept or reject this Plan, and the votes of such holders will not be solicited with respect
to such Allowed Priority Non-Tax Claims.

                    4.2        Class 2: Other Secured Claims.

                       (a)     Treatment: The legal, equitable, and contractual rights of the
holders of Allowed Other Secured Claims are unaltered by this Plan. Except to the extent that a
holder of an Allowed Other Secured Claim agrees to different treatment, on the later of the
Effective Date and the date that is ten (10) Business Days after the date such Other Secured
Claim becomes an Allowed Claim, or as soon thereafter as is reasonably practicable, each holder
of an Allowed Other Secured Claim shall receive, on account of such Allowed Claim, at the
option of the Reorganized Debtors: (i) Cash in an amount equal to the Allowed amount of such
Claim, (ii) reinstatement or such other treatment sufficient to render such holder’s Allowed Other
Secured Claim Unimpaired pursuant to section 1124 of the Bankruptcy Code, or (iii) return of
the applicable Collateral in satisfaction of the Allowed amount of such Other Secured Claim.

                         (b)    Impairment and Voting: Allowed Other Secured Claims are
Unimpaired. In accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed
Other Secured Claims are conclusively presumed to accept this Plan and are not entitled to vote
to accept or reject this Plan, and the votes of such holders will not be solicited with respect to
such Allowed Other Secured Claims.

                    4.3        Class 3: First Lien Debt Claims.

                       (a)      Treatment: On the Effective Date, each holder of an Allowed First
Lien Debt Claim shall be entitled to receive from (and on behalf of) CHC, in full and final
satisfaction of such Claim, its Pro Rata share of 90% of the New Common Stock issued on the
Effective Date (subject to dilution by the Management Incentive Plan).

                     (b)     Impairment and Voting: The First Lien Debt Claims are Impaired.
Holders of Allowed First Lien Debt Claims are entitled to vote on this Plan.

                       (c)     Allowance: The First Lien Debt Claims shall be deemed Allowed
on the Effective Date in the aggregate amount of $1,075,545,556.48, minus the aggregate
amount of the DIP Facility Roll-Up Loans.

                    4.4        Class 4: Second Lien Debt Claims.

                        (a)    Treatment: On the Effective Date, each holder of an Allowed
Second Lien Debt Claim shall be entitled to receive from (and on behalf of) CHC, in full and
final satisfaction of such Claim, its Pro Rata share of 10% of the New Common Stock issued on
the Effective Date (subject to dilution by the Management Incentive Plan).


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                     (b)   Impairment and Voting: The Second Lien Debt Claims are
Impaired. Holders of Allowed Second Lien Debt Claims are entitled to vote on this Plan.

                     (c)    Allowance: The Second Lien Debt Claims shall be deemed
Allowed on the Effective Date in the aggregate amount of $471,987,841.37.

                    4.5        Class 5: General Unsecured Claims.

                       (a)    Treatment: The legal, equitable, and contractual rights of the
holders of General Unsecured Claims are unaltered by this Plan. Except to the extent that a
holder of a General Unsecured Claim agrees to different treatment, on and after the Effective
Date, the Debtors shall continue to pay (if Allowed) or dispute each General Unsecured Claim in
the ordinary course of business as if the Chapter 11 Cases had never been commenced.

                        (b)     Impairment and Voting: All Allowed General Unsecured Claims
are deemed Unimpaired. In accordance with section 1126(f) of the Bankruptcy Code, the
holders of Allowed General Unsecured Claims are conclusively presumed to accept this Plan and
are not entitled to vote to accept or reject this Plan, and the votes of such holders will not be
solicited with respect to such Allowed General Unsecured Claims.

                    4.6        Class 6: NCS Rejection Claims.

                       (a)    Treatment: The holders of NCS Rejection Claims shall not receive
or retain any property under this Plan on account of such Claims, and the obligations of the
Debtors and the Reorganized Debtors on account of the NCS Rejection Claims shall be
discharged.

                       (b)    Impairment and Voting: NCS Rejection Claims are Impaired. In
accordance with section 1126(g) of the Bankruptcy Code, holders of NCS Rejection Claims are
conclusively presumed to reject this Plan and are not entitled to vote to accept or reject this Plan,
and the votes of such holders will not be solicited with respect to NCS Rejection Claims.

                    4.7        Class 7: General Unsecured PDM Claims.

                        (a)   Treatment: The holders of General Unsecured PDM Claims shall
not receive or retain any property under this Plan on account of such Claims, and the obligations
of the Debtors and the Reorganized Debtors on account of the General Unsecured PDM Claims
shall be discharged.

                         (b)    Impairment and Voting: General Unsecured PDM Claims are
Impaired. In accordance with section 1126(g) of the Bankruptcy Code, holders of General
Unsecured PDM Claims are conclusively presumed to reject this Plan and are not entitled to vote
to accept or reject this Plan, and the votes of such holders will not be solicited with respect to
General Unsecured PDM Claims.




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                    4.8        Class 8: Intercompany Claims.

                       (a)     Treatment: On or after the Effective Date, all Intercompany
Claims shall be paid, adjusted, continued, settled, reinstated, discharged, or eliminated, in each
case to the extent determined to be appropriate by the Debtors or Reorganized Debtors with the
consent of the Ad Hoc First Lien Group and the Second Lien Ad Hoc Groups (such consents not
to be unreasonably withheld), as applicable. All Claims between any Debtor and a non-Debtor
affiliate shall be Unimpaired under this Plan.

                        (b)      Impairment and Voting: All Allowed Intercompany Claims are
deemed Unimpaired. In accordance with section 1126(f) of the Bankruptcy Code, the holders of
Allowed Intercompany Claims are conclusively presumed to accept this Plan and are not entitled
to vote to accept or reject this Plan, and the votes of such holders will not be solicited with
respect to such Allowed Intercompany Claims.

                    4.9        Class 9: Subordinated Claims.

                       (a)     Treatment: Subordinated Claims are subordinated pursuant to this
Plan and section 510 of the Bankruptcy Code. The holders of Subordinated Claims shall not
receive or retain any property under this Plan on account of such Claims, and the obligations of
the Debtors and the Reorganized Debtors on account of Subordinated Claims shall be
discharged.

                       (b)    Impairment and Voting: Subordinated Claims are Impaired. In
accordance with section 1126(g) of the Bankruptcy Code, holders of Subordinated Claims are
conclusively presumed to reject this Plan and are not entitled to vote to accept or reject this Plan,
and the votes of such holders will not be solicited with respect to Subordinated Claims.

                    4.10       Class 10: Existing Equity Interests.

                       (a)     Treatment: On the Effective Date, the Existing Equity Interests
shall be cancelled without further action by or order of the Bankruptcy Court.

                       (b)    Impairment and Voting: Existing Equity Interests are Impaired. In
accordance with section 1126(g) of the Bankruptcy Code, holders of Existing Equity Interests are
conclusively presumed to reject this Plan and are not entitled to vote to accept or reject this Plan,
and the votes of such holders will not be solicited with respect to Existing Equity Interests.

                    4.11       Class 11: Intercompany Interests.

                        (a)   Treatment: Intercompany Interests are Unimpaired. On the
Effective Date, all Intercompany Interests shall be treated as set forth in Section 5.9 hereof.

                         (b)    Impairment and Voting: Intercompany Interests are Unimpaired.
In accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed
Intercompany Interests are conclusively presumed to accept this Plan and are not entitled to vote
to accept or reject this Plan, and the votes of such holders will not be solicited with respect to
such Allowed Intercompany Interests.


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                    4.12       Debtors’ Rights in Respect of Unimpaired Claims.

                 Except as otherwise provided in this Plan, nothing under this Plan shall affect the
rights of the Reorganized Debtors in respect of any Unimpaired Claim, including, without
limitation, all rights in respect of legal and equitable defenses to, or setoffs or recoupments
against, any such Unimpaired Claim.

                    4.13       Treatment of Vacant Classes.

                Any Claim or Interest in a Class that is considered vacant under Section 3.5 of
this Plan shall receive no Plan Distribution.



ARTICLE V.                     MEANS FOR IMPLEMENTATION.

                    5.1        Continued Corporate Existence; Dissolution

                        (a)     Except as otherwise provided in this Plan, the Debtors shall
continue to exist after the Effective Date as Reorganized Debtors in accordance with the
applicable laws of the respective jurisdictions in which they are incorporated or organized and
pursuant to their respective Amended Certificate of Incorporation and Amended By-Laws. On
or after the Effective Date, without prejudice to the rights of any party to a contract or other
agreement with any Reorganized Debtor, each Reorganized Debtor may, in its sole discretion,
take such action as permitted by applicable law, and such Reorganized Debtor’s organizational
documents, as such Reorganized Debtor may determine is reasonable and appropriate, including,
without limitation, causing: (i) a Reorganized Debtor to be merged into another Reorganized
Debtor or an affiliate of a Reorganized Debtor and to engage in the Restructuring Transactions
described in the Acquisition Transactions Exhibit; (ii) a Reorganized Debtor to be dissolved;
(iii) the legal name of a Reorganized Debtor to be changed; or (iv) the closure of a Reorganized
Debtor’s Chapter 11 Case on the Effective Date or any time thereafter.

                        (b)      On the Effective Date or as soon thereafter as is reasonably
practicable, the Reorganized Debtors may take all actions as may be necessary or appropriate to
effect any transaction described in, approved by, or necessary or appropriate to effectuate this
Plan, including, without limitation: (i) the execution and delivery of appropriate agreements or
other documents of merger, consolidation, restructuring, conversion, disposition, transfer,
dissolution, or liquidation containing terms that are consistent with the terms of this Plan and the
Plan Documents and that satisfy the requirements of applicable law and any other terms to which
the applicable entities may agree; (ii) the execution and delivery of appropriate instruments of
transfer, assignment, assumption, or delegation of any Asset, property, right, liability, debt, or
obligation on terms consistent with the terms of this Plan and having other terms to which the
applicable parties agree; (iii) the filing of appropriate certificates or articles of incorporation and
amendments thereto, reincorporation, merger, consolidation, conversion, or dissolution pursuant
to applicable law, including the applicable Amended Certificates of Incorporation and Amended
By-Laws; (iv) the Restructuring Transactions; and (v) all other actions that the applicable entities
determine to be necessary or appropriate, including, without limitation, making filings or
recordings that may be required by applicable law.


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                       (c)    After the Effective Date, the Reorganized Debtors shall be
authorized to dissolve the Debtors or the Reorganized Debtors (other than Reorganized CMC) in
accordance with applicable law. As promptly as practicable after the Effective Date, Catalina
Parent, PDM Intermediate Holdings A Corporation, PDM Intermediate Holdings B Corporation
and CHC shall be dissolved.

                    5.2        Plan Funding.

               Plan Distributions of Cash shall be funded from the Debtors’ Cash on hand as of
the applicable date of such Plan Distribution and from proceeds of the A&R Exit Facility.

                    5.3        Cancellation of Existing Securities and Agreements.

                        (a)     Except for the purpose of evidencing a right to a distribution under
this Plan and except as otherwise set forth in this Plan, or in any Plan Document, on the Effective
Date, all agreements, instruments, and other documents evidencing any prepetition Claim or
Interest (other than certain Intercompany Interests that are not modified by this Plan pursuant to
Section 5.9 hereof) and any rights of any holder in respect thereof shall be deemed cancelled and
of no force or effect. The holders of or parties to such cancelled instruments, Securities, and
other documentation shall have no rights arising from or related to such instruments, Securities,
or other documentation or the cancellation thereof, except the rights provided for pursuant to this
Plan. For the avoidance of doubt, this Section 5.3 shall not apply to the DIP Facility Loan
Agreement or the Amended and Restated First Lien Credit Agreement.

                         (b)     Notwithstanding such cancellation and discharge, the First Lien
Credit Agreement and the Second Lien Credit Agreement shall continue in effect solely to the
extent necessary to (i) allow the holders of Allowed First Lien Debt Claims and Allowed Second
Lien Debt Claims to receive distributions under the Plan, (ii) allow the Debtors, the Reorganized
Debtors, the First Lien Agent, the Second Lien Agent, and the Disbursing Agent to make post-
Effective Date distributions or take such other action, if any, pursuant to the Plan on account of
the Allowed First Lien Debt Claims and Allowed Second Lien Debt Claims, and to otherwise
exercise their rights and discharge their obligations relating to the interests of the holders of such
Claims in accordance with this Plan, and (iii) permit the First Lien Agent and the Second Lien
Agent to appear in these Chapter 11 Cases; provided that nothing in this Section 5.3 shall affect
the discharge of Claims pursuant to the Bankruptcy Code, the Confirmation Order, or this Plan
or result in any liability or expense to the Reorganized Debtors. The First Lien Agent and The
Second Lien Agent shall be entitled to reimbursement of reasonable and documented fees and
expenses (including reasonable and documented fees and expenses of its professionals) incurred
in connection with the matters set forth in this Section 5.3(b).

                        (c)    Notwithstanding anything to the contrary herein, any and all
indemnification and reimbursement provisions in the First Lien Credit Agreement and Second
Lien Credit Agreement and the other Loan Documents (as defined in the First Lien Credit
Agreement and Second Lien Credit Agreement, as applicable) shall survive the occurrence of
the Effective Date to the extent such indemnification and reimbursement provisions would
survive the satisfaction and discharge of all other Obligations (as defined in the First Lien Credit
Agreement and Second Lien Credit Agreement, as applicable).


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                         (d)     Notwithstanding the foregoing, any provision in any document,
instrument, lease, or other agreement that causes or effectuates, or purports to cause or
effectuate, a default, termination, waiver, or other forfeiture of, or by, the Debtors of their
interests, as a result of the cancellations, terminations, satisfaction, releases, or discharges
provided for in this Section 5.3 shall be deemed null and void and shall be of no force and effect.
Nothing contained herein shall be deemed to cancel, terminate, release, or discharge the
obligation of the Debtors or any of their counterparties under any executory contract or
unexpired lease to the extent such executory contract or unexpired lease has been assumed by the
Debtors pursuant to a Final Order of the Bankruptcy Court or hereunder.

                        (e)     Nothing in this Plan shall be deemed to limit or otherwise affect
any rights of, or liens or security interests in favor of, JPM under or in connection with the L/C
Cash Collateral Agreement, the Cash Collateral Account (as defined in the L/C Cash Collateral
Agreement) or any contents or proceeds thereof, and the L/C Cash Collateral Agreement shall
remain in effect in accordance with its terms for so long as any obligations remain outstanding
thereunder (including any obligations of the Debtors to pay fronting fees or other costs pursuant
to Section 2.03(i) of the First Lien Credit Agreement, which obligations shall survive the
occurrence of the Effective Date and continue to accrue for so long as the JPM Letter of Credit
remains outstanding).

                    5.4        Cancellation of Certain Existing Security Interests.

                 Upon the full payment or other satisfaction of an Allowed Other Secured Claim,
or promptly thereafter, the holder of such Allowed Other Secured Claim shall deliver to the
Debtors or Reorganized Debtors, as applicable, any Collateral or other property of a Debtor held
by such holder, together with any termination statements, instruments of satisfaction, or releases
of all security interests with respect to its Allowed Other Secured Claim that may be reasonably
required to terminate any related financing statements, mortgages, mechanics’ or other statutory
Liens, or lis pendens, or similar interests or documents.

                    5.5        Officers and Boards of Directors.

                        (a)     On the Effective Date, and if the CMC Acquisition occurs, in
accordance with the Acquisition Agreement, the board of directors of Reorganized Catalina
Topco shall consist of [●] directors, each of whom shall be designated by the Ad Hoc First Lien
Group. The composition of the boards of directors of each Reorganized Debtor shall be
disclosed prior to the entry of the Confirmation Order.

                       (b)     Except to the extent that a member of the board of directors of a
Debtor continues to serve as a director of such Reorganized Debtor on the Effective Date, the
members of the board of directors of each Debtor prior to the Effective Date, in their capacities
as such, shall have no continuing obligations to the Reorganized Debtors on or after the Effective
Date and each such director will be deemed to have resigned or shall otherwise cease to be a
director of the applicable Debtor on the Effective Date. Commencing on the Effective Date,
each of the directors of each of the Reorganized Debtors shall serve pursuant to the terms of the
applicable organizational documents of such Reorganized Debtor and may be replaced or
removed in accordance with such organizational documents.


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                    5.6        Management Incentive Plan.

                       (a)     After the Effective Date, and if the CMC Acquisition occurs, in
accordance with the Acquisition Agreement, the New Board shall adopt the Management
Incentive Plan. The participants and the amounts allocated under the Management Incentive
Plan and other terms and conditions thereof shall be determined in the sole discretion of the New
Board; provided, however, that the Management Incentive Plan shall consist only of common
stock, preferred stock, warrants, options, restricted stock units, or other instruments or securities
exercisable or convertible into New Common Stock, the amount of which shall not exceed ten
percent (10%) of the New Common Stock authorized to be issued pursuant to this Plan.

                      (b)    Any Catalina Parent Interests granted prior to the Effective Date to
a current or former employee, officer, director or contractor pursuant to an employee
compensation plan, benefit plan, employment agreement, offer letter, award letter or otherwise
shall be deemed cancelled on the Effective Date.

                    5.7        Authorization, Issuance, and Delivery of New Common Stock.

                        (a)    On the Effective Date, all existing interests in Catalina Parent shall
be cancelled and (i) Reorganized CMC is authorized to issue or cause to be issued and, in the
event the CMC Acquisition does not occur, shall issue the New Common Stock for distribution
in accordance with the terms of this Plan without the need for any further corporate, shareholder,
or other equityholder action, and (ii) the event the CMC Acquisition does occur, and in
accordance with (and subject to the terms of) the Acquisition Agreement, the Acquisition
Company shall transfer (or cause to be transferred) to CHC the New Common Stock, as partial
consideration for the acquisition of Reorganized CMC, for distribution in accordance with the
terms of this Plan, in each case, CHC shall direct the Disbursing Agent to distribute the New
Common Stock in accordance with Section 6.1 of this Plan.

                        (b)    All of the New Common Stock issuable under the Plan, when so
issued, shall be duly authorized, validly issued, fully paid, and nonassessable, and the holders of
New Common Stock shall be deemed to have accepted the terms of the New Stockholders’
Agreement (solely in their capacity as shareholders of Reorganized Catalina Topco) and to be
parties thereto without further action or signature. The New Stockholders’ Agreement shall be
effective as of the Effective Date.

                       (c)    Upon the Effective Date, unless otherwise consented to by the
Required Restructuring Support Parties, (i) the New Common Stock shall not be registered under
the Securities Act of 1933, and shall not be listed for public trading on any securities exchange,
and (ii) none of the Reorganized Debtors shall be a reporting company under the Exchange Act.

                    5.8        Amended and Restated First Lien Credit Agreement.

               On the Effective Date and, if applicable, prior to the CMC Acquisition, the
Amended and Restated First Lien Credit Agreement shall be executed, delivered, and all fees and
expenses required thereunder (including the A&R Exit Facility Backstop Payment and the A&R
Exit Facility Commitment Payment) shall be paid, and the Reorganized Debtors (other than the
Acquisition Company) shall be authorized to execute, deliver, enter into, and make any payments

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required by the Amended and Restated First Lien Credit Agreement without the need for any
further corporate action and without further action by the holders of Claims or Interests. The
form of the Amended and Restated First Lien Credit Agreement will be filed as part of the Plan
Supplement.

                All Liens and security interests granted pursuant to the Amended and Restated
First Lien Credit Agreement shall be (a) valid, binding, perfected and enforceable Liens and
security interests in the personal and real property described in and subject to such documents,
with the priorities established in respect thereof under applicable non-bankruptcy law and (b) not
subject to avoidance, recharacterization or subordination under any applicable law.

                All Liens, mortgages and security interests securing the obligations arising under
the Amended and Restated First Lien Credit Agreement that were shared collateral securing the
DIP Facility Loan Agreement are unaltered by this Plan, and all such Liens, mortgages and
security interests are created and perfected with respect to the Amended and Restated First Lien
Credit Facility to the same extent, in the same manner and on the same terms and priorities as
they were with respect to the DIP Facility. For purposes of all mortgages, pledges, and deposit
account control agreements that secured the obligations arising under the DIP Facility Loan
Agreement, the Amended and Restated First Lien Credit Agreement is deemed an amendment
and restatement of the DIP Facility Loan Agreement, and such mortgages, pledges, and control
agreements shall survive the Effective Date, shall not be cancelled, and shall continue to secure
the Amended and Restated First Lien Credit Facility.

               For the avoidance of doubt, this Section 5.8 shall apply to the Amended and
Restated First Lien Credit Facility in its entirety, including the A&R First-Out Tranche and the
A&R Last-Out Tranche.

                    5.9        Intercompany Interests; Corporate Reorganization.

               Subject to the consent of the Required Restructuring Support Parties, on the
Effective Date, except as otherwise provided in the Plan, and without the need for any further
corporate action or any other approval of any board of directors, management, shareholders, or
other equityholders of any Debtor or Reorganized Debtor, as applicable, the certificates and all
other documents representing the Intercompany Interests shall be deemed to be in full force and
effect.

                    5.10       Restructuring Transactions.

                       (a)     On the Effective Date or as soon as reasonably practicable
thereafter, the Debtors or Reorganized Debtors, as applicable, may take all actions consistent
with this Plan and the Restructuring Support Agreement as may be necessary or appropriate to
effect any transaction described in, approved by, contemplated by, or necessary to effectuate the
Restructuring Transactions under and in connection with this Plan.

                       (b)    On or before the CMC Acquisition Election Date, the Debtors
(with the consent of the Ad Hoc First Lien Group and the Ad Hoc Second Lien Group) shall
elect whether or not to consummate the CMC Acquisition.



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                        (c)     The following transactions shall occur on or prior to the Effective
Date (and in all events, prior to any distributions pursuant to Article VI of the Plan and, if
applicable, prior to the CMC Acquisition):

                                (i) each Modiv Media Inc. and Cellfire Inc, and any other
          subsidiary as determined by the Debtors, shall be converted into a limited liability
          company that, for U.S. federal income tax purposes, is treated as a disregarded entity;

                                 (ii) in accordance with Section 4.8, all Intercompany Claims shall
          be paid, adjusted, continued, settled, reinstated, discharged, or eliminated; and

                            (iii) the Intercompany Interests in CMC shall be recapitalized into
          the New Common Stock, unless the CMC Acquisition occurs.

                        (d)    The transactions described in Section 5.10(a)-(c) are subject to the
Acquisition Transactions Exhibit. In addition, notwithstanding anything to the contrary in this
Plan, the Debtors shall consult with the Ad Hoc First Lien Group and the Ad Hoc Second Lien
Group to determine whether, and provide the Ad Hoc First Lien Group and the Ad Hoc Second
Lien Group with reasonable access to materials in its (or its agents’) possession reasonably
necessary to evaluate whether, to engage in the Acquisition Transactions (or other related,
similar or alternative Restructuring Transactions), and the Debtors or Reorganized Debtors may
not engage in the Acquisition Transactions (or other related, similar or alternative Restructuring
Transactions) without the prior consent of the Ad Hoc First Lien Group and the Ad Hoc Second
Lien Group. The Debtors shall cooperate on a reasonable basis with the Ad Hoc First Lien
Group and the Ad Hoc Second Lien Group in connection with proposals by the Ad Hoc First
Lien Group and/or the Ad Hoc Second Lien Group. In the event that the Debtors, the Ad Hoc
First Lien Group and the Ad Hoc Second Lien Group agree to effectuate the Acquisition
Transactions or other Restructuring Transactions in a manner that the Ad Hoc First Lien Group
and the Ad Hoc Second Lien Group reasonably believe could qualify as a “qualified stock
purchase” or “qualified stock disposition” within the meaning of Sections 338 and 336,
respectively, of the Tax Code (and the Treasury Regulations promulgated thereunder), then the
Debtors or Reorganized Debtors shall deliver to the Ad Hoc First Lien Group, the Ad Hoc
Second Lien Group and Reorganized Catalina Topco a properly completed IRS Form 8023
(and/or such other forms or documentation as required by applicable Law to make elections
pursuant to Sections 338 or 336 of the Tax Code and the Treasury Regulations promulgated
thereunder (and any similar elections under state or local law)) on or prior to the Effective Date
duly executed by the common parent of the Catalina Parent Group (or other applicable
signatory).

                    (e)    Notwithstanding anything to the contrary in this Plan, the Plan will
be consummated in the manner set forth in the Acquisition Transactions Exhibit

                    5.11       Separability.

               If the Bankruptcy Court does not confirm this Plan with respect to one or more
Debtors, it may still confirm this Plan with respect to any other Debtor that satisfies the
confirmation requirements of section 1129 of the Bankruptcy Code.


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                    5.12       Closing of Chapter 11 Cases.

                The Reorganized Debtors shall, promptly after the full administration of the
Chapter 11 Cases, file with the Bankruptcy Court all documents required by Bankruptcy Rule
3022 and any applicable order of the Bankruptcy Court to close the Chapter 11 Cases; provided,
as of the Effective Date, the Reorganized Debtors may submit separate orders to the Bankruptcy
Court under certification of counsel closing certain individual Chapter 11 Cases and changing
the caption of the Chapter 11 Cases accordingly; provided further that matters concerning
Claims may be heard and adjudicated in one of the Debtors’ chapter 11 cases that remains open
regardless of whether the applicable Claim is against a Debtor in a chapter 11 case that is closed.
Nothing in this Plan shall authorize the closing of any case nunc pro tunc to a date that precedes
the date any such order is entered. Any request for nunc pro tunc relief shall be made on motion
served on the United States Trustee, and the Bankruptcy Court shall rule on such request after
notice and a hearing. Upon the filing of a motion to close the last Chapter 11 Case remaining
open, the Reorganized Debtors shall file a final report with respect to all of the Chapter 11 Cases
pursuant to Local Rule 3022-1(c).

                    5.13       Determination of Tax Filings and Taxes.

                       (a)     Prior to the dissolution of Catalina Parent, Catalina Parent shall
designate Reorganized CMC as the agent (the “Tax Agent”) for the Catalina Parent Group in
accordance with Treasury Regulations Section 1.1502-77(c)(5), as amended and supplemented,
and any comparable provision under state or local law, with respect to all taxable periods ending
on or before, or including, the dissolution of Catalina Parent.

                        (b)     Catalina Parent shall forward to the Tax Agent copies of all notices
and communications relating to tax matters that it receives and shall promptly provide to the Tax
Agent any information and documents with respect to tax matters reasonably requested by the
Tax Agent. Without limiting the foregoing, prior to the dissolution of Catalina Parent, a power of
attorney authorizing the Tax Agent to correspond with any taxing authority on behalf of the
Debtors and to sign, negotiate, settle and administer any Group Tax Returns (as defined below)
or other tax filings shall be provided to the Tax Agent.

                        (c)    For all taxable periods ending on or prior to, or including, the
Effective Date, the Tax Agent shall prepare and file (or cause to be prepared and filed) on behalf
of the Catalina Parent Group, all group tax returns, reports, certificates, forms or similar
statements or other documents (collectively, “Group Tax Returns”) required to be filed or that
the Tax Agent otherwise deems appropriate, including the filing of amended Group Tax Returns.
If requested by the Tax Agent, Catalina Parent shall promptly execute and file, or cause to be
executed and filed, any Group Tax Returns of the Catalina Parent Group submitted by the Tax
Agent to Catalina Parent for execution or filing. Catalina Parent shall not file or amend any
Group Tax Return for any taxable periods (or portions thereof) described in the first sentence of
this clause (c) without the Tax Agent’s prior written consent.

                        (d)    If Catalina Parent receives written notice from a taxing authority of
any pending examination, claim, settlement, proposed adjustment or related matters with respect
to taxes that could affect any other member of the Catalina Parent Group it shall so notify the


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Tax Agent in writing within ten (10) business days thereafter. The Tax Agent shall have the sole
right, at its expense, to control, conduct, compromise and settle any tax contest, audit or
administrative or court proceeding relating to any liability for taxes of the Catalina Parent Group.
With respect to any such proceeding and with respect to the preparation and filing of any Group
Tax Returns, the Tax Agent may act in its own self-interest and in the of its subsidiaries and
affiliates, without regard to any adverse consequences to Catalina Parent.

                        (e)    The Reorganized Debtors shall have the right to request an
expedited determination of their tax liability, if any, under section 505(b) of the Bankruptcy
Code with respect to any tax returns filed, or to be filed, for any and all taxable periods ending
after the Petition Date through the Effective Date.

                    5.14       Notice of Effective Date.

               On the Effective Date, the Debtors shall file a notice of the occurrence of the
Effective Date with the Bankruptcy Court.

ARTICLE VI.                    DISTRIBUTIONS.

                    6.1        Distributions Generally.

                The Disbursing Agent shall make all Plan Distributions to the appropriate holders
of Allowed Claims and Allowed Interests in accordance with the terms of this Plan; provided, in
each case, that the Debtors shall provide the applicable Disbursing Agent with written
instructions for the allocation of any distributions among the applicable holders of Allowed
Claims and Allowed Interests; provided, further, that any distributions with respect to the First
Lien Credit Facility shall be made in accordance with the First Lien Credit Agreement, and any
distributions with respect to the Second Lien Facility shall be made in accordance with the
Second Lien Credit Agreement.

                    6.2        Postpetition Interest on Claims.

                Except as otherwise set forth in this Plan, the Plan Documents, or the
Confirmation Order, postpetition interest shall accrue, and shall be paid, on any Claims (except
for First Lien Debt Claims, Second Lien Debt Claims or any other prepetition funded
indebtedness borrowed or issued by a Debtor) in the ordinary course of business in accordance
with any applicable law, agreement, document, or Final Order, as the case may be, as if the
Chapter 11 Cases had never been commenced.

                    6.3        Date of Distributions.

              Unless otherwise provided in this Plan, any distributions and deliveries to be
made under this Plan shall be made on the Effective Date or as soon thereafter as is practicable.

                    6.4        Distribution Record Date.

                        (a)     As of the close of business on the Distribution Record Date, the
various lists of holders of Claims in each Class, as maintained by the Debtors or their agents,


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shall be deemed closed, and there shall be no further changes in the record holders of any Claims
after the Distribution Record Date. Neither the Debtors nor the Disbursing Agent shall have any
obligation to recognize any transfer of a Claim occurring after the close of business on the
Distribution Record Date. In addition, with respect to payment of any Cure Amounts or disputes
over any Cure Amounts, neither the Debtors nor the Disbursing Agent shall have any obligation
to recognize or deal with any party other than the non-Debtor party to the applicable executory
contract or unexpired lease, even if such non-Debtor party has sold, assigned, or otherwise
transferred its Claim for a Cure Amount.

                        (b)     Notwithstanding anything in this Plan to the contrary, in
connection with any distribution under this Plan to be effected through the facilities of DTC
(whether by means of book-entry exchange, free delivery, or otherwise), the Debtors and the
Reorganized Debtors, as applicable, will be entitled to recognize and deal for all purposes under
this Plan with holders of New Common Stock to the extent consistent with the customary
practices of DTC used in connection with such distributions. All New Common Stock to be
distributed under this Plan shall be issued in the names of such holders or their nominees in
accordance with DTC’s book-entry exchange procedures; provided, that such New Common
Stock is permitted to be held through DTC’s book-entry system; and provided, further, that to
the extent the New Common Stock is not eligible for distribution in accordance with DTC’s
customary practices, Reorganized Catalina Topco will take all such reasonable actions as may be
required to cause the distributions of the New Common Stock under this Plan. No distributions
will be made other than through DTC if the New Common Stock is permitted to be held through
DTC’s book entry system. Any distribution that otherwise would be made to any holder eligible
to receive a distribution of a security available solely through DTC who does not own or hold an
account eligible to receive a distribution through DTC on a relevant distribution date or
reasonably promptly thereafter (and in any event no more than two weeks thereafter) shall be
forfeited.

                    6.5        Disbursing Agent.

                All distributions under this Plan shall be made by the Disbursing Agent on and
after the Effective Date as provided herein. The Disbursing Agent shall not be required to give
any bond or surety or other security for the performance of its duties. The Reorganized Debtors
shall use commercially reasonable efforts to provide the Disbursing Agent (if other than the
Reorganized Debtors) with the amounts of Claims and the identities and addresses of holders of
Claims, in each case, as set forth in the Debtors’ or Reorganized Debtors’ books and records.
The Reorganized Debtors shall cooperate in good faith with the applicable Disbursing Agent (if
other than the Reorganized Debtors) to comply with the reporting and withholding requirements
outlined in Section 6.16 of the Plan.

                    6.6        Delivery of Distributions.

                Subject to Section 6.4(b) of this Plan, the Disbursing Agent will issue or cause to
be issued, the applicable consideration under this Plan and, subject to Bankruptcy Rule 9010,
will make all distributions to any holder of an Allowed Claim as and when required by this Plan
at: (a) the address of such holder on the books and records of the Debtors or their agents; or
(b) at the address in any written notice of address change delivered to the Debtors or the


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Disbursing Agent, including any addresses included on any transfers of Claim filed pursuant to
Bankruptcy Rule 3001. In the event that any distribution to any holder is returned as
undeliverable, no distribution or payment to such holder shall be made unless and until the
Disbursing Agent has been notified of the then-current address of such holder, at which time or
as soon thereafter as reasonably practicable such distribution shall be made to such holder
without interest.

                    6.7        Unclaimed Property.

               One year from the later of: (i) the Effective Date and (ii) the date that is ten (10)
Business Days after the date a Claim is first Allowed, all distributions payable on account of
such Claim shall be deemed unclaimed property under section 374(b) of the Bankruptcy Code
and shall revert to Reorganized CMC or their successors or assigns, and all claims of any other
Person (including the holder of a Claim in the same Class) to such distribution shall be
discharged and forever barred. The Reorganized Debtors and the Disbursing Agent shall have
no obligation to attempt to locate any holder of an Allowed Claim other than by reviewing the
Debtors’ books and records and the Bankruptcy Court’s filings.

                    6.8        Satisfaction of Claims.

               Unless otherwise provided herein, any distributions and deliveries to be made on
account of Allowed Claims under this Plan shall be in complete and final satisfaction, settlement,
and discharge of and exchange for such Allowed Claims.

                    6.9        Manner of Payment under Plan.

               Except as specifically provided herein, at the option of the Debtors or the
Reorganized Debtors, as applicable, any Cash payment to be made under this Plan may be made
by a check or wire transfer or as otherwise required or provided in applicable agreements or
customary practices of the Debtors.

                    6.10       Fractional Shares and De Minimis Cash Distributions.

                No fractional shares of New Common Stock shall be distributed. When any
distribution would otherwise result in the issuance of a number of shares of New Common Stock
that is not a whole number, the New Common Stock subject to such distribution shall be rounded
to the next higher or lower whole number as follows: (i) fractions equal to or greater than 1/2
shall be rounded to the next higher whole number, and (ii) fractions less than 1/2 shall be
rounded to the next lower whole number. The total number of shares of New Common Stock to
be distributed on account of Allowed Claims will be adjusted as necessary to account for the
rounding provided for herein. No consideration will be provided in lieu of fractional shares that
are rounded down. Neither the Reorganized Debtors nor the Disbursing Agent shall have any
obligation to make a distribution that is less than one (1) share of New Common Stock or $50.00
in Cash. Fractional shares of New Common Stock that are not distributed in accordance with
this Section shall be returned to, and ownership thereof shall vest in, Reorganized Catalina
Topco.




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                    6.11       No Distribution in Excess of Amount of Allowed Claim.

               Notwithstanding anything to the contrary in this Plan, no holder of an Allowed
Claim shall receive, on account of such Allowed Claim, Plan Distributions in excess of the
Allowed amount of such Claim (plus any postpetition interest on such Claim solely to the extent
permitted by Section 6.2 hereof).

                    6.12       Allocation of Distributions between Principal and Interest.

                 Except as otherwise provided in this Plan and subject to Section 6.2 of this Plan,
to the extent that any Allowed First Lien Debt Claim or Any Allowed Second Lien Debt Claim
entitled to a distribution under this Plan is comprised of indebtedness and accrued but unpaid
interest thereon, such distribution shall be allocated first to the principal amount (as determined
for federal income tax purposes) of the Claim and then to accrued but unpaid interest.

                    6.13       Exemption from Securities Laws.

                        (a)    The issuance of and the distribution under this Plan of the New
Common Stock shall be exempt, without further act or actions by any entity, from registration
under the Securities Act, and all rules and regulations promulgated thereunder, and any other
applicable securities laws to the fullest extent permitted by section 1145 of the Bankruptcy Code.
The New Common Stock may be resold without registration under the Securities Act or other
federal securities laws pursuant to the exemption provided by section 4(a)(1) of the Securities
Act, unless the holder is an “underwriter” with respect to the New Common Stock, as that term is
defined in section 1145(b) of the Bankruptcy Code. In addition, such section 1145 exempt
securities generally may be resold without registration under state securities laws pursuant to
various exemptions provided by the respective laws of the several states.

                      (b)     Should the Reorganized Debtors elect on or after the Effective
Date to reflect any ownership of the New Common Stock through the facilities of the DTC, the
Reorganized Debtors need not provide any further evidence other than the Plan or the
Confirmation Order with respect to the treatment of the New Common Stock under applicable
securities laws.

                        (c)    Notwithstanding anything to the contrary in the Plan, no entity
(including, for the avoidance of doubt, DTC) shall be entitled to require a legal opinion regarding
the validity of any transaction contemplated by the Plan, including, for the avoidance of doubt,
whether the New Common Stock is exempt from registration and/or eligible for DTC book-entry
delivery, settlement, and depository services. The Confirmation Order shall provide that DTC
shall be required to accept and conclusively rely upon the Plan or Confirmation Order in lieu of a
legal opinion regarding whether the New Common Stock is exempt from registration and/or
eligible for DTC book-entry delivery, settlement, and depository services.

                    6.14       Setoffs and Recoupments.

             Each Reorganized Debtor, or such entity’s designee as instructed by such
Reorganized Debtor, may, pursuant to section 553 of the Bankruptcy Code or applicable
nonbankruptcy law, offset or recoup against any Allowed Claim and the distributions to be made


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pursuant to this Plan on account of such Allowed Claim any and all claims, rights, and Causes of
Action that a Reorganized Debtor or its successors may hold against the holder of such Allowed
Claim after the Effective Date to the extent such setoff or recoupment is either (1) agreed in
amount among the relevant Reorganized Debtor(s) and holder of the Allowed Claim or
(2) otherwise adjudicated by the Bankruptcy Court or another court of competent jurisdiction;
provided, that neither the failure to effect a setoff or recoupment nor the allowance of any Claim
hereunder will constitute a waiver or release by a Reorganized Debtor or its successor of any
claims, rights, or Causes of Action that a Reorganized Debtor or its successor or assign may
possess against such holder. For the avoidance of doubt, in no event shall the Debtors or
Reorganized Debtors be authorized or permitted to offset or recoup against the First Lien Debt
Claim, DIP Facility Claim, or Second Lien Debt Claim.

                    6.15       Rights and Powers of Disbursing Agent.

                         (a)     Powers of Disbursing Agent. The Disbursing Agent shall be
empowered to: (i) effect all actions and execute all agreements, instruments, and other
documents necessary to perform its duties under this Plan; (ii) make all applicable distributions
or payments provided for under this Plan; (iii) employ professionals to represent it with respect
to its responsibilities; and (iv) exercise such other powers (A) as may be vested in the Disbursing
Agent by order of the Bankruptcy Court (including any Final Order issued after the Effective
Date) or pursuant to this Plan or (B) as deemed by the Disbursing Agent to be necessary and
proper to implement the provisions of this Plan.

                       (b)     Expenses Incurred on or After the Effective Date. Except as
otherwise ordered by the Bankruptcy Court and subject to the written agreement of the
Reorganized Debtors, the amount of any reasonable fees and expenses incurred by the
Disbursing Agent on or after the Effective Date (including, without limitation, taxes) and any
reasonable compensation and expense reimbursement Claims (including, without limitation, for
reasonable attorneys’ and other professional fees and expenses) made by the Disbursing Agent
shall be indefeasibly paid in full in Cash by the Reorganized Debtors.

                    6.16       Withholding and Reporting Requirements.

                In connection with this Plan and all instruments issued in connection therewith
and distributed thereon, the Reorganized Debtors and any other distributing party shall comply
with all applicable withholding and reporting requirements imposed by any federal, state or local
taxing authority, and all Plan Distributions under this Plan shall be subject to any such
withholding or reporting requirements. In the case of a non-Cash Plan Distribution that is
subject to withholding, the distributing party may request a holder of an Allowed Claim to
complete and return a Form W-9 or Form W-8BEN, W-8BEN-E or other appropriate Form W-8,
as applicable to each such holder. If such Form is requested and not submitted to the distributing
party within thirty (30) days of the request, the distributing party may, in its discretion, either (i)
withhold an appropriate portion of such distributed property and sell such withheld property to
generate Cash necessary to pay over the withholding tax, or (ii) require the intended recipient of
such distribution to provide the withholding agent with an amount of Cash sufficient to satisfy
such withholding tax as a condition to receiving such distribution; provided that, if the applicable
holder provides the appropriate Form prior to the distributing party selling such property


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pursuant to clause (i) or the receipt of cash pursuant to clause (ii), such Form shall be deemed
timely provided. If such Form is requested and submitted to the distributing party pursuant to
the immediately preceding sentence, the distributing party may withhold an appropriate portion
of such distributed property and sell such withheld property to generate Cash necessary to pay
over the withholding tax; provided that, the distributing party shall first notify the intended
recipient of such contemplated withholding (including the basis for such withholding) and sale,
shall cooperate in good faith with the applicable holder to eliminate or reduce such withholding
and, if after such good faith cooperation, the distributing parties still believes withholding is
required, offer the intended recipient the opportunity to provide sufficient Cash to satisfy such
withholding tax in lieu of such sale. The distributing party shall have the right, but not the
obligation, not to make a Plan Distribution until its withholding obligation is satisfied pursuant to
the preceding sentences. Any amounts withheld pursuant hereto shall be deemed to have been
distributed to and received by the applicable recipient for all purposes of this Plan. The
distributing party may require a holder of an Allowed Claim or Existing Equity Interest to
complete and return a Form W-9 or Form W-8BEN, W-8BEN-E or other appropriate Form W-8,
as applicable to each such holder.

                Notwithstanding the above, each holder of an Allowed Claim that is to receive a
Plan Distribution under this Plan shall have the sole and exclusive responsibility for the
satisfaction and payment of any tax obligations imposed on such holder by any governmental
unit, including income, withholding, and other tax obligations, on account of such Plan
Distribution.

                In the event that any amounts are withheld from any Plan Distribution, as soon as
practicable after payment of the taxes to the applicable governmental unit, the Reorganized
Debtors shall deliver or cause to be delivered to the holder from which such amounts were
withheld the original or a certified copy of a receipt issued by such governmental unit evidencing
such payment, a copy of the return reporting such payment or other evidence of such payment
reasonably satisfactory to the applicable holder, and the Reorganized Debtors shall use
commercially reasonably efforts to cooperate in the prosecution of any refund claim made by the
applicable holder.

                    6.17       Hart-Scott-Rodino Antitrust Improvements Act.

                 Any New Common Stock to be distributed under this Plan to an entity required to
file a notification and report form under the Hart-Scott-Rodino Antitrust Improvements Act of
1976, as amended, shall not be distributed until the notification and waiting periods applicable
under such Act to such entity have expired or been terminated.

                    6.18       Claims Paid or Payable by Third Parties.

                       (a)     Claims Paid by Third Parties. A Claim shall be correspondingly
reduced, and the applicable portion of such Claim shall be disallowed without an objection to
such Claim having to be filed and without any further notice to or action, order, or approval of
the Bankruptcy Court, to the extent that the holder of such Claim receives a payment on account
of such Claim from a party that is not a Debtor or Reorganized Debtor; provided that the Debtors
shall provide 21 days’ notice to the holder prior to any disallowance of such Claim during which


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period the holder may object to such disallowance, and if the parties cannot reach an agreed
resolution, the matter shall be decided by the Bankruptcy Court. Subject to the last sentence of
this paragraph, to the extent a holder of a Claim receives a distribution on account of such Claim
and receives payment from a party that is not a Debtor or a Reorganized Debtor on account of
such Claim, such holder shall, within fourteen (14) days of receipt thereof, repay or return the
distribution to the Reorganized Debtors to the extent the holder’s total recovery on account of
such Claim from the third party and under the Plan exceeds the amount of such Claim as of the
date of any such distribution under the Plan. The failure of such holder to timely repay or return
such distribution shall result in the holder owing the Reorganized Debtors annualized interest at
the federal judgment rate on such amount owed for each Business Day after the fourteen (14) day
grace period specified above until the amount is repaid.

                         (b)      Claims Payable by Insurance Carriers. No distributions under
the Plan shall be made on account of an Allowed Claim that is payable pursuant to one of the
Debtors’ insurance policies until the holder of such Allowed Claim has exhausted all remedies
with respect to such insurance policy. To the extent that one or more of the Debtors’ insurers
agrees to satisfy in full or in part a Claim (if and to the extent adjudicated by a court of
competent jurisdiction), then immediately upon such insurers’ agreement, the applicable portion
of such Claim may be expunged without a Claim objection having to be filed and without any
further notice to or action, order, or approval of the Bankruptcy Court; provided that the Debtors
shall provide 21 days’ notice to the holder of such Claim prior to any disallowance of such Claim
during which period the holder may object to such disallowance, and if the parties cannot reach
an agreed resolution, the matter shall be decided by the Bankruptcy Court.

                        (c)     Applicability of Insurance Policies. Except as otherwise provided
in the Plan, distributions to holders of Allowed Claims shall be in accordance with the provisions
of any applicable insurance policy. Notwithstanding anything to the contrary herein, nothing
contained in the Plan shall constitute or be deemed a release, settlement, satisfaction,
compromise, or waiver of any Cause of Action that the Debtors or any other Person may hold
against any other Person, including insurers, under any policies of insurance or applicable
indemnity, nor shall anything contained herein constitute or be deemed a waiver by such insurers
of any defenses, including coverage defenses, held by such insurers.



ARTICLE VII.                   PROCEDURES FOR RESOLVING CLAIMS.

                    7.1        Disputed Claims Process.

                 Notwithstanding section 502(a) of the Bankruptcy Code, and except as otherwise
set forth in this Plan, holders of Claims need not file proofs of Claim with the Bankruptcy Court,
and the Reorganized Debtors and holders of Claims shall determine, adjudicate, and resolve any
disputes over the validity and amounts of such Claims in the ordinary course of business as if the
Chapter 11 Cases had not been commenced. For the avoidance of doubt, the Reorganized
Debtors shall retain all rights, claims, defenses, counterclaims, crossclaims, or rights of setoff or
recoupment with respect to any Claims, including General Unsecured Claims, in the ordinary
course of business after the Effective Date. Notwithstanding any other provision of the Plan, the


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fact that a Claim, including General Unsecured Claims, remains unaltered by the Plan shall in no
way effect whether such Claim is Allowed. Unless otherwise ordered by the Bankruptcy Court,
the holders of Claims shall not be subject to any claims resolution process in the Bankruptcy
Court in connection with their Claims and shall retain all their rights under applicable non-
bankruptcy law to pursue their Claims against the Debtors or Reorganized Debtors in any forum
with jurisdiction over the parties. Except for (i) proofs of Claim asserting damages arising out of
the rejection of an executory contract or unexpired lease by any of the Debtors pursuant to
Section 8.3 of this Plan and (ii) proofs of Claim that have been objected to by the Debtors before
the Effective Date, upon the Effective Date, any filed Claim, regardless of the time of filing, and
including Claims filed after the Effective Date, shall be deemed withdrawn. To the extent not
otherwise provided in this Plan, the deemed withdrawal of a proof of Claim is without prejudice
to such claimant’s rights under this Section 7.1 of this Plan to assert its Claims in any forum as
though the Debtors’ Chapter 11 Cases had not been commenced. From and after the Effective
Date, the Reorganized Debtors may satisfy, dispute, settle, or otherwise compromise any Claim
without approval of the Bankruptcy Court.

                    7.2        Estimation of Claims.

               The Reorganized Debtors may at any time request that the Bankruptcy Court
estimate any contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of the
Bankruptcy Code, regardless of whether the Debtors had previously objected to or otherwise
disputed such Claim or whether the Bankruptcy Court has ruled on any such objection. The
Bankruptcy Court shall retain jurisdiction to estimate any Claim at any time during litigation
concerning any objection to any Claim, including, without limitation, during the pendency of any
appeal relating to any such objection. In the event that the Bankruptcy Court estimates any
contingent, unliquidated, or Disputed Claim, the amount so estimated shall constitute either the
Allowed amount of such Claim or a maximum limitation on such Claim, as determined by the
Bankruptcy Court. If the estimated amount constitutes a maximum limitation on the amount of
such Claim, the Reorganized Debtors may pursue supplementary proceedings to object to the
allowance of such Claim.

                    7.3        Claim Resolution Procedures Cumulative.

               All of the objection, estimation, and resolution procedures in this Plan are
intended to be cumulative and not exclusive of one another. Claims may be estimated and
subsequently settled, compromised, withdrawn, or resolved in accordance with this Plan by any
mechanism approved by the Bankruptcy Court.

                    7.4        No Distributions Pending Allowance.

               If an objection, motion to estimate, or other challenge to a Claim is filed, no
payment or distribution provided under this Plan shall be made on account of such Claim unless
and until (and only to the extent that) such Claim becomes an Allowed Claim.

                    7.5        Distributions after Allowance.

                To the extent that a Disputed Claim ultimately becomes an Allowed Claim,
distributions (if any) shall be made to the holder of such Allowed Claim in accordance with the

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provisions of this Plan. As soon as practicable after the date on which the order or judgment of
the Bankruptcy Court allowing any Disputed Claim becomes a Final Order, the Disbursing
Agent shall provide to the holder of such Claim the distribution (if any) to which such holder is
entitled under this Plan as of the Effective Date, without any interest to be paid on account of
such Claim unless required by the Bankruptcy Code.



ARTICLE VIII.                  EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

                    8.1        General Treatment.

                As of and subject to the occurrence of the Effective Date and the payment of any
applicable Cure Amount, all executory contracts and unexpired leases shall be deemed assumed,
unless such contract or lease (i) was previously assumed or rejected by the Debtors, pursuant to
Final Order of the Bankruptcy Court, (ii) previously expired or terminated pursuant to its own
terms or by agreement of the parties thereto, or (iii) is the subject of a motion to reject filed by
the Debtors on or before the Confirmation Date. Subject to the occurrence of the Effective Date,
entry of the Confirmation Order by the Bankruptcy Court shall constitute approval of the
assumptions or rejections provided for in this Plan pursuant to sections 365(a) and 1123 of the
Bankruptcy Code. Each executory contract and unexpired lease assumed pursuant to this Plan
shall vest in and be fully enforceable by the applicable Reorganized Debtor in accordance with
its terms, except as modified by the provisions of this Plan, any Final Order of the Bankruptcy
Court authorizing and providing for its assumption, or applicable law.

                    8.2        Determination of Cure Disputes and Deemed Consent.

                Any monetary amounts by which any executory contract or unexpired lease to be
assumed hereunder is in default shall be satisfied, under section 365(b)(1) of the Bankruptcy
Code, by the Debtors or Reorganized Debtors, as applicable, upon assumption thereof.
Following the Petition Date, the Debtors shall have served a notice on parties to executory
contracts and unexpired leases to be assumed reflecting the Debtors’ intention to assume the
contract or lease in connection with this Plan and setting forth the proposed Cure Amount (if
any). If a counterparty to any executory contract or unexpired lease that the Debtors or
Reorganized Debtors intend to assume does not receive such a notice, the proposed Cure
Amount for such executory contract or unexpired lease shall be deemed to be zero dollars ($0).

                 If there is a dispute regarding (a) any Cure Amount, (b) the ability of the Debtors
to provide adequate assurance of future performance (within the meaning of section 365 of the
Bankruptcy Code) under the contract or lease to be assumed, or (c) any other matter pertaining to
assumption, such dispute shall be heard by the Bankruptcy Court prior to such assumption being
effective. The Debtors reserve the right to reject any executory contract or unexpired lease not
later than thirty (30) days after the entry of a Final Order resolving any such dispute. Any
counterparty to an executory contract or unexpired lease that fails to object timely to the notice
of the proposed assumption and assignment of such executory contract or unexpired lease on
which such executory contract or unexpired lease first appears or any subsequent notice in which
the proposed Cure Amount for such executory contract or unexpired lease is reduced or the
relevant Cure Amount within fourteen (14) days of the filing thereof, shall be deemed to have

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assented to such assumption and/or Cure Amount and shall be forever barred, estopped, and
enjoined from challenging the validity of such assumption or the amount of such Cure Amount
thereafter.

                    8.3        Rejection Damages Claims.

                Any counterparty to a contract or lease that is rejected by the Debtors must file
and serve a proof of claim on the applicable Debtor that is party to the contract or lease to be
rejected no later than thirty (30) days after the later of (a) the Confirmation Date or (b) the
effective date of rejection of such executory contract or unexpired lease.

                    8.4        Survival of the Debtors’ Indemnification Obligations.

                 Any obligations of the Debtors pursuant to their corporate charters, by-laws,
limited liability company agreements, memorandum and articles of association, or other
organizational documents to indemnify current and former officers, directors, agents, or
employees with respect to all present and future actions, suits, and proceedings against the
Debtors or such officers, directors, agents, or employees based upon any act or omission for or
on behalf of the Debtors shall not be discharged, impaired, or otherwise affected by this Plan;
provided, that the Reorganized Debtors shall not indemnify directors of the Debtors for any
claims or Causes of Action arising out of or relating to any act or omission that is a criminal act
or constitutes gross negligence or intentional fraud. All such obligations shall be deemed and
treated as executory contracts to be assumed by the Debtors under this Plan and shall continue as
obligations of the Reorganized Debtors. Any claim based on the Debtors’ obligations herein
shall not be a Disputed Claim or subject to any objection, in either case, by reason of section
502(e)(1)(B) of the Bankruptcy Code.

                    8.5        Compensation and Benefit Plans.

                All employment and severance policies, and all compensation and benefits plans,
policies, and programs of the Debtors applicable to their respective employees, retirees, and non-
employee directors, including, without limitation, all savings plans, retirement plans, healthcare
plans, disability plans, severance benefit plans, incentive plans, and life and accidental death and
dismemberment insurance plans, are deemed to be, and shall be treated as, executory contracts
under this Plan and, on the Effective Date, will be assumed pursuant to sections 365 and 1123 of
the Bankruptcy Code.

                    8.6        Insurance Policies.

                All insurance policies to which any Debtor is a party as of the Effective Date shall
be deemed to be and treated as executory contracts and shall be assumed by the applicable
Debtor or Reorganized Debtor and shall continue in full force and effect thereafter in accordance
with their respective terms. All other insurance policies shall vest in the Reorganized Debtors.

                    8.7        Intellectual Property Licenses and Agreements.

              All intellectual property contracts, licenses, royalties, or other similar agreements
to which the Debtors have any rights or obligations in effect as of the date of the Confirmation


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Order shall be deemed and treated as executory contracts pursuant to the Plan and shall be
assumed by the respective Debtors and shall continue in full force and effect unless any such
intellectual property contract, license, royalty, or other similar agreement otherwise is
specifically rejected pursuant to a separate order of the Bankruptcy Court or is the subject of a
separate rejection motion filed by the Debtors (with the consent of the Required Restructuring
Support Parties) in accordance with Section 8.1 of the Plan. Unless otherwise noted hereunder,
all other intellectual property contracts, licenses, royalties, or other similar agreements shall vest
in the Reorganized Debtors and the Reorganized Debtors may take all actions as may be
necessary or appropriate to ensure such vesting as contemplated herein.

                    8.8        Modifications, Amendments, Supplements, Restatements, or Other
Agreements.

               Unless otherwise provided herein or by separate order of the Bankruptcy Court,
each executory contract and unexpired lease that is assumed shall include any and all
modifications, amendments, supplements, restatements, or other agreements made directly or
indirectly by any agreement, instrument, or other document that in any manner affects such
executory contract or unexpired lease, without regard to whether such agreement, instrument, or
other document is listed in any notice of assumed contracts.

                    8.9        Reservation of Rights.

                         (a)     Neither the exclusion nor the inclusion by the Debtors of any
contract or lease on any exhibit, schedule, or other annex to this Plan or in the Plan Supplement,
nor anything contained in this Plan, will constitute an admission by the Debtors that any such
contract or lease is or is not an executory contract or unexpired lease or that the Debtors or the
Reorganized Debtors or their respective affiliates has any liability thereunder.

                        (b)    Except as explicitly provided in this Plan, nothing herein shall
waive, excuse, limit, diminish, or otherwise alter any of the defenses, claims, Causes of Action,
or other rights of the Debtors or the Reorganized Debtors under any executory or non-executory
contract or unexpired or expired lease.

                        (c)    Nothing in this Plan will increase, augment, or add to any of the
duties, obligations, responsibilities, or liabilities of the Debtors or the Reorganized Debtors, as
applicable, under any executory or non-executory contract or unexpired or expired lease.

                         (d)    If there is a dispute regarding whether a contract or lease is or was
executory or unexpired at the time of its assumption under this Plan, the Debtors or Reorganized
Debtors, as applicable, shall have thirty (30) days following entry of a Final Order resolving such
dispute to alter their treatment of such contract or lease.




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ARTICLE IX.                    CONDITIONS PRECEDENT

                    9.1        Conditions Precedent to Confirmation of the Plan.

                    The following are conditions precedent to confirmation of the Plan:

                       (a)    an order finding that the Disclosure Statement contains adequate
information pursuant to section 1125 of the Bankruptcy Code shall have been entered by the
Court (which, for the avoidance of doubt, may be the same order as the order confirming the
Plan);

                      (b)     the Plan, the Plan Supplement (including the applicable Plan
Documents), and any and all of the schedules, documents, and exhibits contained therein shall
have been filed and shall be consistent in all material respects with this Plan and the
Restructuring Support Agreement;

                      (c)      the Restructuring Support Agreement shall not have been
terminated and shall be in full force and effect; and

                       (d)     any Restructuring Expenses due and payable in accordance with
their terms on or before the relevant date shall have been paid in full and in Cash.

                    9.2        Conditions Precedent to the Effective Date.

               The Effective Date shall not occur unless all of the following conditions precedent
have been satisfied:

                               (a)    the Plan Supplement, including the applicable Plan Documents,
has been filed;

                       (b)     the Plan Documents contain terms and conditions consistent in all
material respects with this Plan and the Restructuring Support Agreement;

                      (c)     the Bankruptcy Court has entered the Confirmation Order in form
and substance reasonably satisfactory to the Debtors and the Required Restructuring Support
Parties and such Confirmation Order has not been stayed, modified, or vacated;

                       (d)     the Restructuring Support Agreement has not been terminated and
remains in full force and effect and binding on all parties thereto;

                       (e)     the Debtors shall not be in default under the DIP Facility or any of
the DIP Facility Orders (or, to the extent that the Debtors are in default on the proposed Effective
Date, such default shall have been waived by the required DIP Facility Lenders or cured by the
Debtors in a manner consistent with the DIP Facility Loan Agreement or the applicable DIP
Facility Orders);




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                      (f)     each of the Definitive Documents shall have satisfied the consent
requirements of the applicable Restructuring Support Parties in accordance with the
Restructuring Support Agreement;

                       (g)    all conditions precedent to the issuance of the New Common
Stock, other than any conditions related to the occurrence of the Effective Date, shall have
occurred;

                      (h)    all unpaid Restructuring Expenses and all amounts payable by the
Debtors pursuant to the DIP Facility Orders and Restructuring Support Agreement (including the
A&R Exit Facility Backstop Payment and the A&R Exit Facility Commitment Payment) shall
have been paid in Cash;

                       (i)      the NCS Agreement is amended on terms or rejected pursuant to
an order providing relief, in each case, consistent with the Restructuring Support Agreement;

                     (j)    the conditions to effectiveness of the Amended and Restated First
Lien Credit Agreement have been satisfied or waived in accordance with the terms thereof, and
the Amended and Restated First Lien Credit Agreement is in full force and effect and binding on
all parties thereto;

                       (k)     all governmental and third-party approvals and consents, including
Bankruptcy Court approval, necessary in connection with the transactions provided for in this
Plan have been obtained, are not subject to unfulfilled conditions, and are in full force and effect,
and all applicable waiting periods have expired without any action having been taken by any
competent authority that restrains, prevents, or enjoins the Restructuring Transactions; and

                      (l)     the Amended Certificate of Incorporation of Reorganized Catalina
Topco has been filed with the appropriate governmental authority.

                    9.3        Waiver of Conditions Precedent.

                       (a)     Each of the conditions precedent set forth in Sections 9.1 and 9.2
to the occurrence of the Effective Date may be waived in writing by the Debtors and the
Required Restructuring Support Parties; provided that the conditions precedent to the occurrence
of the Effective Date in Sections 9.2(i) and (j) of the Plan may be waived by the Debtors and the
Ad Hoc First Lien Group. If any such condition precedent is waived pursuant to this Section and
the Effective Date occurs, each party agreeing to waive such condition precedent shall be
estopped from withdrawing such waiver after the Effective Date or otherwise challenging the
occurrence of the Effective Date on the basis that such condition was not satisfied, the waiver of
such condition precedent shall benefit from the “equitable mootness” doctrine, and the
occurrence of the Effective Date shall foreclose any ability to challenge this Plan in any court. If
this Plan is confirmed for fewer than all of the Debtors as provided for in Section 5.11 of this
Plan, only the conditions applicable to the Debtor or Debtors for which this Plan is confirmed
must be satisfied or waived for the Effective Date to occur.




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                     (b)     The stay of the Confirmation Order pursuant to Bankruptcy Rule
3020(e) shall be deemed waived by and upon the entry of the Confirmation Order, and the
Confirmation Order shall take effect immediately upon its entry.

                    9.4        Effect of Failure of a Condition.

                If the conditions listed in Section 9.2 hereof are not satisfied or waived in
accordance with Section 9.3 hereof on or before the first Business Day that is more than seventy-
five (75) days after the date on which the Confirmation Order is entered or by such later date
reasonably acceptable to the Required Restructuring Support Parties and as set forth by the
Debtors in a notice filed with the Bankruptcy Court prior to the expiration of such period, this
Plan shall be null and void in all respects and nothing contained in this Plan or the Disclosure
Statement shall (a) constitute a waiver or release of any Claims by or against or any Interests in
the Debtors, (b) prejudice in any manner the rights of any Person, or (c) constitute an admission,
acknowledgement, offer, or undertaking by the Debtors, any of the other Restructuring Support
Parties, or any other Person.

ARTICLE X.                     EFFECT OF CONFIRMATION.

                    10.1       Binding Effect.

                Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code, and
subject to the occurrence of the Effective Date, on and after the entry of the Confirmation Order,
the provisions of this Plan shall bind every holder of a Claim against or Interest in any Debtor
and inure to the benefit of and be binding on such holder’s respective successors and assigns,
regardless of whether the Claim or Interest of such holder is Impaired under this Plan and
whether such holder has accepted this Plan.

                    10.2       Vesting of Assets.

                Except as otherwise provided in this Plan, or any Plan Document, on and after the
Effective Date, all Assets of the Estates, including all claims, rights, and Causes of Action and
any property acquired by the Debtors under or in connection with this Plan, shall vest in each
respective Reorganized Debtor free and clear of all Claims, Liens, charges, other encumbrances,
and Interests. Subject to the terms of this Plan, on and after the Effective Date, the Reorganized
Debtors may operate their businesses and may use, acquire, and dispose of property and
prosecute, compromise, or settle any Claims (including any Administrative Expense Claims) and
Causes of Action without supervision of or approval by the Bankruptcy Court and free and clear
of any restrictions of the Bankruptcy Code or the Bankruptcy Rules other than restrictions
expressly imposed by this Plan or the Confirmation Order. Without limiting the foregoing, the
Reorganized Debtors may pay the charges that they incur on or after the Effective Date for
Professional Persons’ fees, disbursements, expenses, or related support services without
application to the Bankruptcy Court.

                    10.3       Discharge of Claims against and Interests in the Debtors.

                Effective as of the Effective Date: (a) the rights afforded in this Plan and the
treatment of all Claims and Interests shall be in exchange for and in complete satisfaction,


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discharge, and release of all Claims and Interests of any nature whatsoever, including any
interest accrued on such Claims from and after the Petition Date, against the Debtors, the
Debtors’ Estates, or the Reorganized Debtors; (b) this Plan shall bind all holders of Claims and
Interests, notwithstanding whether any such holders failed to vote to accept or reject this Plan or
voted to reject this Plan; (c) all Claims and Interests shall be satisfied, discharged, and released in
full, and the liability of the Debtors and the Reorganized Debtors with respect thereto shall be
extinguished completely, including any liability of the kind specified under section 502(g) of the
Bankruptcy Code; and (d) all entities shall be precluded from asserting against the Debtors, the
Debtors’ Estates, or the Reorganized Debtors, any other Claims or Interests based upon any
documents, instruments, or any act or omission, transaction, or other activity of any kind or
nature that occurred prior to the Effective Date.

                    10.4       Pre-Confirmation Injunctions and Stays.

               Unless otherwise provided in this Plan, all injunctions and stays arising under or
entered during the Chapter 11 Cases, whether under sections 105 or 362 of the Bankruptcy Code
or otherwise, and in existence on the date of entry of the Confirmation Order, shall remain in full
force and effect until the later of the Effective Date and the date indicated in the order providing
for such injunction or stay.

                    10.5       Injunction against Interference with Plan.

                Upon the entry of the Confirmation Order, all holders of Claims and Interests and
all other parties in interest, along with their respective present and former affiliates, employees,
agents, officers, directors, and principals, shall be enjoined from taking any action to interfere
with the implementation or the occurrence of the Effective Date.

                    10.6       Plan Injunction.

                         (a)     Except as otherwise provided in this Plan, in the Plan Documents,
or in the Confirmation Order, as of the entry of the Confirmation Order but subject to the
occurrence of the Effective Date, all Persons who have held, hold, or may hold Claims or
Interests are, with respect to any such Claim or Interest, permanently enjoined after the entry of
the Confirmation Order from: (i) commencing, conducting, or continuing in any manner, directly
or indirectly, any suit, action, or other proceeding of any kind (including, without limitation, any
proceeding in a judicial, arbitral, administrative, or other forum) against or affecting, directly or
indirectly, a Debtor, a Reorganized Debtor, or an Estate or the property of any of the foregoing,
or any direct or indirect transferee of any property of, or direct or indirect successor in interest to,
any of the foregoing Persons mentioned in this subsection (i) or any property of any such
transferee or successor; (ii) enforcing, levying, attaching (including, without limitation, any
prejudgment attachment), collecting, or otherwise recovering in any manner or by any means,
whether directly or indirectly, any judgment, award, decree, or order against a Debtor, a
Reorganized Debtor, or an Estate or its property, or any direct or indirect transferee of any
property of, or direct or indirect successor in interest to, any of the foregoing Persons mentioned
in this subsection (ii) or any property of any such transferee or successor; (iii) creating,
perfecting, or otherwise enforcing in any manner, directly or indirectly, any encumbrance of any
kind against a Debtor, a Reorganized Debtor, or an Estate or any of its property, or any direct or


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indirect transferee of any property of, or successor in interest to, any of the foregoing Persons
mentioned in this subsection (iii) or any property of any such transferee or successor; (iv) acting
or proceeding in any manner, in any place whatsoever, that does not conform to or comply with
the provisions of this Plan, and the Plan Documents, to the full extent permitted by applicable
law; and (v) commencing or continuing, in any manner or in any place, any action that does not
comply with or is inconsistent with the provisions of this Plan and the Plan Documents;
provided, that nothing contained herein shall preclude such Persons who have held, hold, or may
hold Claims against, or Interests in, a Debtor, a Reorganized Debtor, or an Estate from exercising
their rights and remedies, or obtaining benefits, pursuant to and consistent with the terms of this
Plan and the Plan Documents.

                       (b)    By accepting distributions pursuant to this Plan, each holder of an
Allowed Claim or Interest will be deemed to have affirmatively and specifically consented to be
bound by this Plan, including, without limitation, the injunctions set forth in this Section.

                    10.7       Releases.

                        (a)     Releases by the Debtors. As of the Effective Date, except for the
rights and remedies that remain in effect from and after the Effective Date to enforce this Plan
and the Plan Documents, for good and valuable consideration, the adequacy of which is hereby
confirmed, including, without limitation, the service and contributions of the Released Parties to
facilitate the reorganization of the Debtors and the implementation of the Restructuring, the
Released Parties are deemed forever released and discharged by the Debtors, the Reorganized
Debtors, and the Estates, in each case on behalf of themselves and their respective successors,
assigns, and representatives and any and all other entities that may purport to assert any Cause of
Action derivatively, by or through the foregoing entities, from any and all claims, interests,
obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, losses,
remedies, or liabilities whatsoever, including any derivative claims, asserted or assertable on
behalf of the Debtors, the Reorganized Debtors, or their Estates, whether known or unknown,
foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that the
Debtors, the Reorganized Debtors, or their Estates would have been legally entitled to assert in
their own right (whether individually or collectively) or on behalf of the holder of any Claim or
Interest or other entity, based on or relating to, or in any manner arising from, in whole or in part,
the Debtors, the Chapter 11 Cases, the purchase, sale, or rescission of the purchase or sale of any
Security of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions or
events giving rise to, any Claim or Interest that is treated in this Plan, the business or contractual
arrangements between any Debtor and any Released Party, the Restructuring, the restructuring of
any Claim or Interest before or during the Chapter 11 Cases, the Restructuring Transactions, the
DIP Facility, the Amended and Restated First Lien Credit Facility, the negotiation, formulation,
or preparation of the Disclosure Statement, the Restructuring Support Agreement and any
exhibits or documents relating thereto, and this Plan and related agreements, instruments, and
other documents (including the Plan Documents), the solicitation of votes with respect to this
Plan, any other act or omission, transaction, agreement, event, or other occurrence, or any other
relief obtained by the Debtors in the Chapter 11 Case, other than Claims or Causes of Action
arising out of or related to any act or omission of a Released Party that is a criminal act or
constitutes intentional fraud.



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                         (b)     Releases by Holders of Claims and Interests. As of the Effective
Date, except for the rights and remedies that remain in effect from and after the Effective Date to
enforce this Plan and the Plan Documents, for good and valuable consideration, the adequacy of
which is hereby confirmed, including, without limitation, the service of and contribution of the
Released Parties to facilitate the reorganization of the Debtors and the implementation of the
Restructuring, the Released Parties are deemed forever released and discharged by the (i) the
holders of all Claims and Interests who vote to accept this Plan, (ii) holders of Claims or Interests
that are Unimpaired under this Plan, where the applicable Claims or Interests have been fully
paid or otherwise satisfied in accordance with this Plan, (iii) holders of Claims or Interests
whose vote to accept or reject this Plan was solicited but who did not vote either to accept or to
reject this Plan, (iv) holders of Claims or Interests who voted to reject this Plan but did not opt
out of granting the releases set forth herein, (v) the Restructuring Support Parties, (vi) the First
Lien Agent, (vii) the Second Lien Agent, (viii) the DIP Facility Agent, and (ix) the DIP Facility
Lenders, from any and all claims, interests, obligations, suits, judgments, damages, demands,
debts, rights, Causes of Action, losses, remedies, and liabilities whatsoever, including any
derivative claims, asserted or assertable on behalf of the Debtors, whether known or unknown,
foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that such
holders or their affiliates would have been legally entitled to assert in their own right (whether
individually or collectively) or on behalf of the holder of any Claim or Interest or other entity,
based on or relating to, or in any manner arising from, in whole or in part, the Debtors, the
Chapter 11 Cases, the purchase, sale, or rescission of the purchase or sale of any Security of the
Debtors or the Reorganized Debtors, the subject matter of, or the transactions or events giving
rise to, any Claim or Interest that is treated in this Plan, the business or contractual arrangements
between any Debtor and any Released Party, the Restructuring, the restructuring of any Claim or
Interest before or during the Chapter 11 Cases, the Restructuring Transactions, the DIP Facility,
the Amended and Restated First Lien Credit Facility, the negotiation, formulation, or preparation
of the Disclosure Statement, the Restructuring Support Agreement and any exhibits or
documents relating thereto, this Plan and related agreements, instruments, and other documents
(including the Plan Documents), the solicitation of votes with respect to this Plan, any other act
or omission, or any other relief obtained by the Debtors in the Chapter 11 Case, other than
Claims or Causes of Action arising out of or related to any act or omission of a Released Party
that is a criminal act or constitutes intentional fraud, gross negligence, or willful misconduct;
provided, that solely for purposes of this section 10.7(b), the Berkshire Funds shall be excluded
from the definition of Released Party if they have not executed the Restructuring Support
Agreement on or before the deadline established in the Plan for filing the Plan Supplement and
become a Consenting Sponsor.

                    10.8       Exculpation.

                 To the extent permitted by applicable law, no Exculpated Party shall have or
incur, and each Exculpated Party is hereby released and exculpated from, any Claim, Interest,
obligation, suit, judgment, damage, demand, debt, right, Cause of Action, loss, remedy, or
liability for any claim in connection with or arising out of the administration of the Chapter 11
Cases; the negotiation and pursuit of the DIP Facility, the Amended and Restated First Lien
Credit Facility, the Management Incentive Plan, the Disclosure Statement, the Restructuring
Support Agreement, the Restructuring Transactions, and this Plan (including the Plan
Documents), or the solicitation of votes for, or confirmation of, this Plan; the funding of this


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Plan; the occurrence of the Effective Date; the administration of this Plan or the property to be
distributed under this Plan; the issuance of Securities under or in connection with this Plan; or
the transactions in furtherance of any of the foregoing; except for intentional fraud, gross
negligence, or willful misconduct, but in all respects such entities shall be entitled to reasonably
rely upon the advice of counsel with respect to their duties and responsibilities pursuant to this
Plan. The Exculpated Parties and each of their respective affiliates, agents, directors, officers,
employees, advisors, and attorneys have acted in compliance with the applicable provisions of
the Bankruptcy Code with regard to the solicitation and distribution of Securities pursuant to this
Plan and, therefore, are not, and on account of such distributions shall not be, liable at any time
for the violation of any applicable law, rule, or regulation governing the solicitation of
acceptances or rejections of this Plan or such distributions made pursuant to this Plan, including
the issuance of Securities thereunder. This exculpation shall be in addition to, and not in
limitation of, all other releases, indemnities, exculpations, and any other applicable law or rules
protecting such Exculpated Parties from liability.

                    10.9       Injunction Related to Releases and Exculpation.

               From and after the Effective Date, all entities are permanently enjoined from
commencing or continuing in any manner, any suit, action, or other proceeding, on account of or
respecting any Claim, demand, liability, obligation, debt, right, Cause of Action, Interest, or
remedy released or to be released pursuant to this Plan or the Confirmation Order.

                    10.10 Subordinated Claims.

               The allowance, classification, and treatment of all Allowed Claims and Interests
and the respective distributions and treatments thereof under this Plan take into account and
conform to the relative priority and rights of the Claims and Interest in each Class in connection
with any contractual, legal, and equitable subordination rights relating thereto (including, the
Intercreditor Agreement), whether arising under general principles of equitable subordination,
sections 510(a), 510(b), or 510(c) of the Bankruptcy Code, or otherwise. Pursuant to section 510
of the Bankruptcy Code, the Debtors reserve the right to reclassify any Allowed Claim or Interest
in accordance with any contractual, legal, or equitable subordination relating thereto.

                    10.11 Retention of Causes of Action and Reservation of Rights.

                Except as otherwise provided herein, including, without limitation, Sections 10.5,
10.6, 10.7, 10.8 and 10.9 nothing contained in this Plan or the Confirmation Order shall be
deemed to be a waiver or relinquishment of any rights, claims, Causes of Action, rights of setoff
or recoupment, or other legal or equitable defenses that the Debtors had immediately prior to the
Effective Date on behalf of the Estates or of themselves in accordance with any provision of the
Bankruptcy Code or any applicable nonbankruptcy law, including, but not limited to, rights,
claims, Causes of Action, rights of setoff, offset, recoupment or other legal or equitable defenses
against any holder of Existing Equity Interests that arise on account of such holders’ objection to,
or support of, and objection to this Plan. The Reorganized Debtors shall have, retain, reserve,
and be entitled to assert all such claims, Causes of Action, rights of setoff or recoupment, and
other legal or equitable defenses, including any actions specifically enumerated in the Plan
Supplement, as fully as if the Chapter 11 Cases had not been commenced, and all of the Debtors’


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legal and equitable rights in respect of any Unimpaired Claim may be asserted after the
Confirmation Date and Effective Date to the same extent as if the Chapter 11 Cases had not been
commenced.

                    10.12 Ipso Facto and Similar Provisions Ineffective.

                 Except as otherwise agreed by the Required Restructuring Support Parties, any
term of any prepetition policy, prepetition contract, or other prepetition obligation applicable to a
Debtor shall be void and of no further force or effect with respect to any Debtor to the extent that
such policy, contract, or other obligation is conditioned on, creates an obligation of the Debtor as
a result of, or gives rise to a right of any entity based on any of the following: (a) the insolvency
or financial condition of a Debtor or (b) the commencement of the Chapter 11 Cases.

                    10.13 Reimbursement or Contribution.

                Subject to Section 10.15 of the Plan, if the Bankruptcy Court disallows a Claim
for reimbursement or contribution of a Person pursuant to section 502(e)(1)(B) of the
Bankruptcy Code, then to the extent that such Claim is contingent as of the Effective Date, such
Claim shall be forever disallowed notwithstanding section 502(j) of the Bankruptcy Code, unless
prior to the Effective Date (a) such Claim has been adjudicated as noncontingent, or (b) the
relevant holder of a Claim has filed a noncontingent Proof of Claim on account of such Claim
and a Final Order has been entered determining such Claim as no longer contingent.

                    10.14 Recoupment.

               In no event shall any holder of a Claim be entitled to recoup such Claim against
any Claim, right, or Cause of Action of the Debtors or the Reorganized Debtors, as applicable,
unless such holder actually has performed such recoupment and provided notice thereof in
writing to the Debtors on or before the Confirmation Date, notwithstanding any indication in any
Proof of Claim or otherwise that such holder asserts, has, or intends to preserve any right of
recoupment.

                    10.15 Indemnification.

                For purposes of this Plan, (a) the obligations of the Debtors to indemnify and
reimburse their directors or officers that were directors or officers, respectively, on or subsequent
to the Petition Date shall be assumed by the Reorganized Debtors and (b) indemnification
obligations of the Debtors arising from services as officers and directors during the period from
and after the Petition Date shall be Administrative Expense Claims. In addition, after the
Effective Date, the Reorganized Debtors shall not terminate or otherwise reduce the coverage
under any directors’ and officers’ insurance policies (including any “tail policy”) in effect as of
the Petition Date, and all members, managers, directors and officers of the Debtors who served in
such capacity at any time prior to the Effective Date will be entitled to the full benefits of any
such policy for the full term of such policy regardless of whether such members, managers,
directors, and/or officers remain in such positions after the Effective Date.




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ARTICLE XI.                    RETENTION OF JURISDICTION.

                    11.1       Retention of Jurisdiction.

               Pursuant to sections 105(c) and 1142 of the Bankruptcy Code and
notwithstanding entry of the Confirmation Order and the occurrence of the Effective Date, on
and after the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction, pursuant to
28 U.S.C. §§ 1334 and 157, over all matters arising in or related to the Chapter 11 Cases for,
among other things, the following purposes:

                      (a)     to hear and determine applications for the assumption or rejection
of executory contracts or unexpired leases and any disputes over Cure Amounts resulting
therefrom;

                      (b)      to determine any motion, adversary proceeding, application,
contested matter, and other litigated matter pending on or commenced after the entry of the
Confirmation Order;

                       (c)   to hear and resolve any disputes arising from or related to (i) any
orders of the Bankruptcy Court granting relief under Bankruptcy Rule 2004 or (ii) any protective
orders entered by the Bankruptcy Court in connection with the foregoing;

                     (d)     to ensure that distributions to holders of Allowed Claims are
accomplished as provided in this Plan and the Confirmation Order;

                     (e)     to consider Claims or the allowance, classification, priority,
compromise, estimation, or payment of any Claim, including any Administrative Expense Claim;

                       (f)    to enter, implement, or enforce such orders as may be appropriate
in the event that the Confirmation Order is for any reason stayed, reversed, revoked, modified, or
vacated;

                       (g)     to issue and enforce injunctions, enter and implement other orders,
and take such other actions as may be necessary or appropriate to restrain interference by any
Person or other entity with the consummation, implementation, or enforcement of this Plan, the
Confirmation Order, or any other order of the Bankruptcy Court;

                       (h)    to hear and determine any application to modify this Plan in
accordance with section 1127 of the Bankruptcy Code to remedy any defect or omission or
reconcile any inconsistency in this Plan, the Disclosure Statement, or any order of the
Bankruptcy Court, including the Confirmation Order, in such a manner as may be necessary to
carry out the purposes and effects thereof;

                               (i)    to hear and determine all Fee Claims;

                     (j)    to resolve disputes concerning any reserves with respect to
Disputed Claims or the administration thereof;



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                      (k)     to hear and determine disputes arising in connection with the
interpretation, implementation, or enforcement of this Plan, the Confirmation Order, any
transactions or payments in furtherance of either, or any agreement, instrument, or other
document governing or related to any of the foregoing;

                       (l)      to take any action and issue such orders, including any such action
or orders as may be necessary after entry of the Confirmation Order or the occurrence of the
Effective Date, as may be necessary to construe, enforce, implement, execute, and consummate
this Plan, including any release, exculpation, or injunction provisions set forth in this Plan, or to
maintain the integrity of this Plan following the occurrence of the Effective Date;

                      (m)    to determine such other matters and for such other purposes as may
be provided in the Confirmation Order;

                      (n)     to hear and determine matters concerning state, local, and federal
taxes in accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

                      (o)     to hear and determine any other matters related to the Chapter 11
Cases and not inconsistent with the Bankruptcy Code or title 28 of the United States Code;

                        (p)    to resolve any disputes concerning whether a Person or entity had
sufficient notice of the Chapter 11 Cases, the Disclosure Statement, any solicitation conducted in
connection with the Chapter 11 Cases, any bar date established in the Chapter 11 Cases, or any
deadline for responding or objecting to a Cure Amount, in each case, for the purpose for
determining whether a Claim or Interest is discharged hereunder or for any other purpose;

                               (q)   to recover all Assets of the Debtors and property of the Estates,
wherever located; and

                        (r)     to enter a final decree closing each of the Chapter 11 Cases;
provided that, on and after the Effective Date and after the consummation of the following
agreements or documents, the Bankruptcy Court shall not retain jurisdiction over matters arising
out of or related to each of the A&R Exit Facility, the Amended and Restated First Lien Credit
Agreement, Amended By-Laws, and Amended Certificate of Incorporation and the A&R Exit
Facility, the Amended and Restated First Lien Credit Agreement, Amended By-Laws, Amended
Certificate of Incorporation, and New Stockholders’ Agreement shall be governed by the
respective jurisdictional provisions therein.

ARTICLE XII.                   MISCELLANEOUS PROVISIONS.

                    12.1       Exemption from Certain Transfer Taxes.

                Pursuant to section 1146 of the Bankruptcy Code, (a) the issuance, transfer or
exchange of any securities, instruments or documents, (b) the creation of any Lien, mortgage,
deed of trust or other security interest, (c) all sale transactions consummated by the Debtors and
approved by the Bankruptcy Court on and after the Confirmation Date through and including the
Effective Date, including any transfers effectuated under this Plan, (d) any assumption,
assignment, or sale by the Debtors of their interests in unexpired leases of nonresidential real


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property or executory contracts pursuant to section 365(a) of the Bankruptcy Code, (e) the grant
of collateral under the Amended and Restated First Lien Credit Agreement, and (f) the issuance,
renewal, modification or securing of indebtedness by such means, and the making, delivery or
recording of any deed or other instrument of transfer under, in furtherance of, or in connection
with, this Plan, including, without limitation, the Confirmation Order, shall not be subject to any
document recording tax, stamp tax, conveyance fee or other similar tax, mortgage tax, real estate
transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee,
regulatory filing or recording fee, sales tax, use tax or other similar tax or governmental
assessment. Consistent with the foregoing, each recorder of deeds or similar official for any
county, city or governmental unit in which any instrument hereunder is to be recorded shall,
pursuant to the Confirmation Order, be ordered and directed to accept such instrument without
requiring the payment of any filing fees, documentary stamp tax, deed stamps, stamp tax,
transfer tax, intangible tax or similar tax.

                    12.2       Dates of Actions to Implement This Plan.

              In the event that any payment or act under this Plan is required to be made or
performed on a date that is not a Business Day, then the making of such payment or the
performance of such act may be completed on or as soon as reasonably practicable after the next
succeeding Business Day but shall be deemed to have been completed as of the required date.

                    12.3       Amendments.

                        (a)    Plan Modifications. This Plan may be amended, modified, or
supplemented by the Debtors in the manner provided for by section 1127 of the Bankruptcy
Code or as otherwise permitted by law, without additional disclosure pursuant to section 1125 of
the Bankruptcy Code, except as otherwise ordered by the Bankruptcy Court. In addition, after
the Confirmation Date, so long as such action does not materially and adversely affect the
treatment of holders of Allowed Claims pursuant to this Plan, the Debtors, with the consent of
the Required Restructuring Support Parties, may remedy any defect or omission or reconcile any
inconsistencies in this Plan or the Confirmation Order with respect to such matters as may be
necessary to carry out the purposes of effects of this Plan, and any holder of a Claim or Interest
that has accepted this Plan shall be deemed to have accepted this Plan as amended, modified, or
supplemented.

                        (b)    Certain Technical Amendments. Consistent with the Restructuring
Support Agreement and the consent rights granted thereunder, prior to the Effective Date, the
Debtors may make appropriate technical adjustments and modifications to this Plan without
further order or approval of the Bankruptcy Court; provided, that such technical adjustments and
modifications do not adversely affect in a material way the treatment of holders of Claims or
Interests under this Plan.

                    12.4       Revocation or Withdrawal of Plan.

               The Debtors reserve the right to revoke or withdraw this Plan prior to the
Effective Date as to any or all of the Debtors. If, with respect to a Debtor, this Plan has been
revoked or withdrawn prior to the Effective Date, or if confirmation or the occurrence of the


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Effective Date as to such Debtor does not occur on the Effective Date, then, with respect to such
Debtor: (a) this Plan shall be null and void in all respects; (b) any settlement or compromise
embodied in this Plan (including the fixing or limiting to an amount any Claim or Interest or
Class of Claims or Interests), assumption or rejection of executory contracts or unexpired leases
affected by this Plan, and any document or agreement executed pursuant to this Plan shall be
deemed null and void; and (c) nothing contained in this Plan shall (i) constitute a waiver or
release of any Claim by or against, or any Interest in, such Debtor or any other Person;
(ii) prejudice in any manner the rights of such Debtor or any other Person; or (iii) constitute an
admission of any sort by any Debtor or any other Person. For the avoidance of doubt, this
Section 12.4 shall not impact or abridge any of the rights of the Restructuring Support Parties
pursuant to or set forth in the Restructuring Support Agreement.

                    12.5       Non-Severability.

                 Subject to Section 5.11 of this Plan, if, prior to the entry of the Confirmation
Order, any term or provision of this Plan is held by the Bankruptcy Court to be invalid, void, or
unenforceable, the Bankruptcy Court, at the request of the Debtors shall have the power to alter
and interpret such term or provision to make it valid or enforceable to the maximum extent
practicable, consistent with the original purpose of the term or provision held to be invalid, void,
or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration, or interpretation by the Bankruptcy Court, the
remainder of the terms and provisions of this Plan shall remain in full force and effect and will in
no way be affected, impaired, or invalidated by such holding, alteration, or interpretation. The
Confirmation Order shall constitute a judicial determination and shall provide that each term and
provision of this Plan, as it may have been altered or interpreted in accordance with this Section,
is: (a) valid and enforceable pursuant to its terms, (b) integral to the Plan and may not be deleted
or modified without the consent of the Debtors or the Reorganized Debtors (as the case may be),
and (c) nonseverable and mutually dependent.

                    12.6       Governing Law.

                Except to the extent that the Bankruptcy Code or other federal law is applicable or
to the extent that a Plan Document provides otherwise, the rights, duties, and obligations arising
under this Plan and the Plan Documents shall be governed by, and construed and enforced in
accordance with, the internal laws of the State of New York, without giving effect to the
principles of conflicts of laws thereof (other than section 5-1401 and section 5-1402 of the New
York General Obligations Law); provided, however, that corporate or limited liability company
governance matters relating to the Debtors or the Reorganized Debtors, as applicable, shall be
governed by the laws of the state of incorporation or formation (as applicable) of the applicable
Debtor or Reorganized Debtor.

                    12.7       Substantial Consummation of the Plan.

               On the Effective Date, the Plan shall be deemed to be substantially consummated
under sections 1101 and 1127(b) of the Bankruptcy Code.




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                    12.8       Immediate Binding Effect.

                Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon
the occurrence of the Effective Date, the terms of this Plan and the Plan Documents shall be
immediately effective and enforceable and deemed binding upon and inure to the benefit of the
Debtors, the Reorganized Debtors, the holders of Claims and Interests, the Released Parties, and
each of their respective successors and assigns.

                    12.9       Successors and Assigns.

               The rights, benefits, and obligations of any entity named or referred to in this Plan
shall be binding on and shall inure to the benefit of any heir, executor, administrator, successor,
or permitted assign, if any, of each such entity.

                    12.10 Entire Agreement.

               On the Effective Date, this Plan, the Plan Supplement, and the Confirmation
Order shall supersede all previous and contemporaneous negotiations, promises, covenants,
agreements, understandings, and representations on such subjects, all of which have become
merged and integrated into this Plan.

                    12.11 Computing Time.

               In computing any period of time prescribed or allowed by this Plan, unless
otherwise set forth in this Plan or determined by the Bankruptcy Court, the provisions of
Bankruptcy Rule 9006 shall apply.

                    12.12 Exhibits to Plan.

             All exhibits, schedules, supplements, and appendices to this Plan (including the
Plan Supplement) are incorporated into and are a part of this Plan as if set forth in full herein.

                    12.13 Deemed Acts.

                Subject to and conditioned on the occurrence of the Effective Date, whenever an
act or event is expressed under the Plan to have been deemed done or to have occurred, it shall
be deemed to have been done or to have occurred without any further act by any party, by virtue
of the Plan and the Confirmation Order.

                    12.14 Notices.

                All notices, requests, and demands to or upon the Debtors or Reorganized
Debtors, as applicable, shall be in writing (including by facsimile transmission) and, unless
otherwise provided herein, shall be deemed to have been duly given or made only when actually
delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed as follows:




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                    Catalina Marketing Corporation
                    200 Carillon Pkwy
                    St. Petersburg, FL 33716
                    Telephone: (877) 210-1917
                    Attn: David Glogoff, Esq.

                    – and –

                    Richards, Layton & Finger, P.A.
                    One Rodney Square
                    920 North King Street
                    Wilmington, Delaware 19801
                    Attn: Mark D. Collins, Esq. and Jason M. Madron, Esq.
                    Telephone: (302) 651-7700
                    Facsimile: (302) 651-7701

                    Attorneys for the Debtors

                    – and –

                    Weil, Gotshal & Manges LLP
                    767 Fifth Avenue
                    New York, New York 10153
                    Attn: Gary T. Holtzer, Esq. and Ronit J. Berkovich, Esq.
                    Telephone: (212) 310-8000
                    Facsimile: (212) 310-8007

                    Attorneys for the Debtors

                Any pleading, notice or other document required by this Plan to be served on or
delivered shall be served by first class or overnight mail:
          If to the First Lien Ad Hoc Group:
                    Jones Day LLP
                    250 Vesey Street
                    New York, New York 10281
                    Attn: Scott Greenberg
                    Telephone: (212) 326-3939
                    Facsimile: (212) 755-7306
                    E-mail: sgreenberg@jonesday.com




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          If to the Second Lien Ad Hoc Group:

                    Paul, Weiss, Rifkind, Wharton & Garrison LLP
                    1285 Avenue of the Americas
                    New York, NY 10019-6064
                    Attention: Brian S. Hermann, Robert A. Britton, and Dan Youngblut
                    Telephone: (212) 373-3000
                    Fax: (212) 492-0545
                    E-mail:bhermann@paulweiss.com
                           rbritton@paulweiss.com
                           dyoungblut@paulweiss.com

                After the occurrence of the Effective Date, the Reorganized Debtors have
authority to send a notice to entities that to continue to receive documents pursuant to
Bankruptcy Rule 2002, such entities must file a renewed request to receive documents pursuant
to Bankruptcy Rule 2002; provided, that the U.S. Trustee need not file such a renewed request
and shall continue to receive documents without any further action being necessary. After the
occurrence of the Effective Date, the Reorganized Debtors are authorized to limit the list of
entities receiving documents pursuant to Bankruptcy Rule 2002 to the U.S. Trustee and those
entities that have filed such renewed requests.




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                    12.15 Reservation of Rights.

               Except as otherwise provided herein, this Plan shall be of no force or effect unless
the Bankruptcy Court enters the Confirmation Order. None of the filing of this Plan, any
statement or provision of this Plan, or the taking of any action by the Debtors with respect to this
Plan shall be or shall be deemed to be an admission or waiver of any rights of the Debtors with
respect to any Claims or Interests prior to the Effective Date.

Dated: December 11, 2018


CATALINA PARTIES

CHECKOUT HOLDING CORP.



By:
Name:
Title:


PDM GROUP HOLDINGS CORPORATION
CATALINA MARKETING CORPORATION
CATALINA MARKETING PROCUREMENT
CATALINA MARKETING TECHNOLOGY SOLUTIONS, INC.
CATALINA MARKETING WORLDWIDE, LLC
CELLFIRE INC.
MODIV MEDIA, INC.
PDM HOLDINGS CORPORATION
PDM INTERMEDIATE HOLDINGS A CORPORATION
PDM INTERMEDIATE HOLDINGS B CORPORATION



By:
Name:
Title:




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